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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF RHODE ISLAND
  __________________________
                             )
  IN RE LOESTRIN 24 FE       ) MDL No. 13-2472
  ANTITRUST LITIGATION       )
                             ) Master File No. 1:13-md-2472-WES-PAS
                             )
  THIS DOCUMENT RELATES TO: )
  ALL END-PAYOR CLASS        )
  ACTIONS                    )
  __________________________)

         MEMORANDUM OF DECISION ON CLASS CERTIFICATION AND
   ORDER REGARDING MOTIONS TO EXCLUDE CERTAIN EXPERT OPINIONS AND
                DEFENDANTS’ RENEWED MOTION TO DISMISS

  WILLIAM E. SMITH, Chief Judge.

        In   this   putative   class   action,   the   End-Payor   Plaintiffs

  (“EPPs”) allege that Defendants Warner Chilcott (US), LLC, Warner

  Chilcott Sales (US), LLC, Warner Chilcott Company, LLC, Warner

  Chilcott plc, and Warner Chilcott Limited (collectively, “Warner

  Chilcott”) and Defendants Watson Pharmaceuticals, Inc. and Watson

  Laboratories, Inc. (together, “Watson” 1, and collectively, with

  Warner Chilcott, “Defendants”) violated state and federal law

  through a series of actions intended to delay and suppress generic

  competition for the oral contraceptive Loestrin 24 Fe (“Loestrin

  24”). 2    The EPPs moved for class certification.          See generally


        1Warner Chilcott and Watson are part of the multinational
  corporation Allergan plc.      See End-Payor Pls.’ Second Am.
  Consolidated Class Action Compl. (“EPP Compl.”) ¶ 27, ECF No. 169.

        2Loestrin 24 is an oral contraceptive with 24 tablets
  containing 1 mg norethindrone acetate and 20 mcg ethinyl estradiol
  and 4 iron placebo tablets. EPP Compl. ¶ 116.
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  EPPs’    Mot.   for   Class   Certification   and   Appointment   of   Class

  Counsel, ECF No. 526; Mem. of Law in Supp. of EPPs’ Mot. for Class

  Certification and Appointment of Counsel (“EPPs’ Mot. for Class

  Certification”), ECF No. 528-1.       In order to allow sufficient time

  for notice to the class prior to trial, which is slated to commence

  on January 6, 2020, the Court – having found the prerequisites of

  Rule 23 fully satisfied – issued an Order dated September 17, 2019,

  granting in part and denying in part the EPPs’ Motion for Class

  Certification, promising an opinion explaining the Order. 3              See

  ECF No. 1226.     This Memorandum serves that purpose.

       In addition to explaining the reasoning underlying the Order

  on the EPPs’ Motion for Class Certification, for the reasons set

  forth below, Defendants’ Renewed Motion to Dismiss and Motion for

  Judgment on the Pleadings as to Claims in EPPs’ Second Amended

  Consolidated Class Action Complaint, ECF No. 576, is GRANTED IN

  PART and DENIED IN PART; Defendants’ Motion to Exclude the Opinion

  and Testimony of EPPs’ Expert Gary L. French, Ph.D., ECF No. 575,

  is DENIED; EPPs’ Motion to Exclude the Opinions and Testimony of

  James W. Hughes, Ph.D. (“EPPs’ Mot. to Exclude Hughes”), ECF No.

  634, is GRANTED IN PART AND DENIED IN PART; Defendants’ Motion to

  Exclude the Opinions and Testimony of EPPs’ Experts Eric Miller,




       3 The Order on Class Certification, ECF No. 1226, and the
  class definition set forth therein, was amended by a subsequent
  order, see ECF No. 1239.
                                        2
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  Laura Craft, and Myron Winkelman, ECF No. 698, is GRANTED IN PART

  AND DENIED IN PART; and the EPPs’ Motion to Exclude the Opinions

  and Testimony of Mr. Timothy E. Kosty and Dr. Bruce A. Strombom

  (“EPPs’ Mot. to Exclude Kosty and Strombom”), ECF No. 733, is

  DENIED.

  I.     Background

         The    Court    constrains   its    recitation     of     the   factual     and

  procedural background to that relevant to the EPPs’ Motion for

  Class Certification. 4

         The EPPs are health and welfare benefit plans, health and

  welfare      benefit    funds,   and      employee   benefit       welfare       funds

  (collectively,        the   “Third-Party      Payors”     or    the    “TPPs”)    and

  consumers who purchased, paid for, and/or provided reimbursement

  for Loestrin 24 and Minastrin 24 (“Minastrin”) and/or their AB-

  rated      generic     equivalents. 5         End-Payor        Pls.’   Second      Am.

  Consolidated Class Action Compl. (“EPP Compl.”) ¶¶ 15-26, ECF No.

  169.       They allege that, in the first instance, Warner Chilcott

  committed fraud on the Patent and Trademark Office in enforcing

  the patent for Loestrin 24 and filing sham litigation against




         4
         The curious reader may refer to In re Loestrin 24 Fe
  Antitrust Litig., 261 F. Supp. 3d 307, 314-25 (D.R.I. 2017)
  (“Loestrin I”), to put more flesh on the bones of the following
  summary.

         5
         The Court uses “generic equivalents” as shorthand for “AB-
  rated generic equivalents” throughout.
                                            3
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  potential generic competitors.            In re Loestrin 24 Fe Antitrust

  Litig., 261 F. Supp. 3d 307, 318-21 (D.R.I. 2017) (“Loestrin I”).

  The EPPs further allege that Warner Chilcott then settled its sham

  patent lawsuits against Watson and Lupin Pharmaceuticals, Inc.

  and/or    Lupin   Ltd.   (“Lupin”)   by    making   large   and   unjustified

  payments in exchange for their agreement to stay out of the

  Loestrin 24 market.      Id. at 321-23. 6    Before generic entry was set

  to occur, Warner Chilcott introduced a new drug, Minastrin (a

  chewable version of Loestrin 24 with added sweetener on reminder

  days), to erode the brand Loestrin 24 prescription base before

  generic entry.     Id. at 323-24.     This alleged product hop allowed

  Warner Chilcott to retain branded sales (in Minastrin) once generic

  Loestrin 24 entered and state automatic substitution laws kicked

  in.   Id.

        The above order of events has consequences for the Court’s

  ability to assess – as antitrust law requires – what the world

  would have looked like but for Defendants’ alleged anticompetitive

  conduct. 7   Because, the EPPs say, Defendants executed the product


        6The EPPs have reached a settlement with Lupin that is pending
  approval of the Court. EPPs’ Mot. for Prelim. Approval of Class
  Action Settlement with Lupin Ltd. and Lupin Pharms., Inc., ECF No.
  1122.   The Direct Purchaser Plaintiffs (“DPPs”), the Retailers,
  and the EPPs have all filed a notice indicating that they do not
  intend to pursue any arguments that Defendants’ conduct delayed
  the introduction of Lupin’s generic Loestrin 24. See ECF No. 1208.

        7Reference to the “but-for world” throughout this decision
  connotes the hypothetical world in which Defendants did not engage
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  hop and pulled brand Loestrin 24 from the market before automatic

  substitution laws took effect, there is a dearth of evidence

  reflecting how the market would have responded to generic entry in

  a but-for world.      This paucity of evidence means that the EPPs and

  Defendants, and their respective experts, do not agree on which

  methodology best constructs the contours of the but-for world.

         Complicating    things    further,    after    the   EPPs    filed   their

  Motion for Class Certification, the First Circuit issued its

  opinion in In re Asacol Antitrust Litigation, 907 F.3d 42 (1st

  Cir. 2018) (“Asacol”).       That decision makes plain in this Circuit

  what may have been unclear before:             in order to prevail on its

  motion for class certification, the class action plaintiff must

  provide a plan to identify and remove any uninjured entities and/or

  persons from the class in a manner that is both administratively

  feasible and protective of the defendant’s Seventh Amendment and

  due process rights.      Id. at 52.         In a case like this one, where

  the parties do not dispute that there is some percentage of

  uninjured consumers who would have purchased a more expensive brand

  product over a less expensive generic in the but-for world, this

  task   proves   impossible      with   respect   to   any   class    containing

  individual consumers.




  in any of the anticompetitive conduct alleged by the EPPs.
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  II.   Discussion

        A.    Defendants’ Renewed Motion to Dismiss and For Judgment
              on the Pleadings

        Only a direct purchaser – and not others further down the

  chain of distribution – that incurred overcharges from an antitrust

  violation    may   recover   damages       under   federal      antitrust   law.

  Illinois Brick Co. v. Illinois, 431 U.S. 720, 746-47 (1977).                This

  “indirect-purchaser     rule”,     however,        does   not    bar   indirect

  purchasers from bringing claims under state law where states

  otherwise recognize such a cause of action, either through Illinois

  Brick-repealer laws or otherwise. California v. ARC America Corp.,

  490 U.S. 93, 103 (1989).       The EPPs lodge their claims under the

  laws of forty-eight states, Puerto Rico, and the District of

  Columbia. 8 See generally Appendix A, Notice of Submission in Resp.

  to Court’s Sept. 17, 2019 Order (“EPP State Law Claims Chart”),

  ECF No. 1231-1; EPP Compl.       Defendants moved to dismiss all of the

  EPPs’ state law claims in their Motion to Dismiss the EPPs’ Second

  Amended Complaint.     See Defs.’ Mot. to Dismiss All Claims in All

  Pls.’ May 9, 2016 Compls. 131-75 (“Defs.’ Mot. to Dismiss”), ECF

  No. 192.    The Court deferred ruling on these state-specific issues

  until class certification, Loestrin I, 261 F. Supp. 3d at 359–61,

  and Defendants have filed a Renewed Motion to Dismiss.                       See


        8The Court uses the word “state” throughout this decision to
  refer more broadly to states, the District of Columbia, and Puerto
  Rico.
                                         6
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  generally Defs.’ Mem. of Law in Opp’n to EPPs’ Mot. for Class

  Certification and in Supp. of Defs.’ Renewed Mot. to Dismiss and

  Mot. for J. on the Pleadings (“Defs.’ Renewed Mot. to Dismiss”),

  ECF No. 574-2.

              1.   Article III Standing 9

       Defendants assert that the named TPPs 10 do not have Article

  III standing to bring claims on behalf of TPPs injured in states

  other than those in which the named TPPs were injured.          Id. at 4,

  52-53.     Remarkably, Defendants pursue this argument despite the

  First Circuit’s recent holding to the contrary in Asacol.         See id.

  at 53 (acknowledging that the First Circuit recently rejected this

  argument in Asacol but arguing the court did not address all

  controlling Supreme Court precedent (citing Asacol, 907 F.3d at

  42)).     Because this Court is bound by the decisions of the First

  Circuit, absent intervening Supreme Court precedent, it is clear

  the EPP class representatives must demonstrate that they have “the


       9 In response to deposition testimony that the A.F. of L. -
  A.G.C. Building Trades Welfare Plan (“A.F. of L.”) had paid nothing
  for brand Loestrin 24 and Minastrin at the time the EPP Complaint
  was filed, the EPPs submit that the A.F. of L. is “amenable to no
  longer pursuing its claims as a named Plaintiff in this case”.
  EPPs’ Mem. in Opp’n to Defs.’ Renewed Mot. to Dismiss and Mot. for
  J. on the Pleadings 23 n.25, ECF No. 613; see also Defs.’ Renewed
  Mot. to Dismiss 66. Accordingly, the Court dismisses the A.F. of
  L. as a named plaintiff in this suit.

       10 As discussed in detail below, the Court certifies only a
  TPP class, and so, does not address whether the named consumer
  plaintiffs have Article III standing to bring claims on behalf of
  others.
                                      7
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  necessary stake in litigating conduct . . . to which [the named

  plaintiffs] ha[ve] not been subject” in order to establish that

  they have standing in other jurisdictions. 11        Asacol, 907 F.3d at

  48 (quoting Blum v. Yaretsky, 457 U.S. 991, 999 (1982)).           And as

  long as they satisfy that requirement, which they do, they have

  standing     to   “litigate     as   class   representatives   materially

  identical claims by other persons under the same laws under which

  [their] claims arise.”        Id. at 47.

       Defendants further contend that the TPPs may only establish

  injury in the states in which they are headquartered and not in

  the states in which they provided reimbursement for the drugs at

  issue.     Defs.’ Renewed Mot. to Dismiss 54 (conceding standing in

  states where the named TPPs are headquartered).         The Court is not

  persuaded and holds that the named TPPs allege injury, and thus

  have standing, in states where they purchased the drugs at issue

  and/or reimbursed their members for purchases of the drugs at

  issue.     See In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735,

  758 (E.D. Pa. 2014) (“Niaspan”) (holding that named indirect

  purchaser plaintiffs may bring suit “under the laws of states in


       11 Defendant Warner Chilcott was also a defendant in Asacol.
  The argument they make here challenging standing would have been
  better made directly to the First Circuit in a petition for panel
  rehearing or rehearing en banc.      The Court understands such a
  request was not made in Asacol, and thus Defendants have made their
  bed for this litigation. The Court is confident the First Circuit
  vigorously examined this issue in reaching its conclusion in
  Asacol, even if it did not cite each case Defendants reference.
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  which they reside or in which they either purchased or made

  reimbursements for [the drug]”); In re Flonase Antitrust Litig.,

  692 F. Supp. 2d 524, 533 (E.D. Pa. 2010) (“Flonase”) (“Plaintiffs

  suffered injury and have standing in states where they purchased

  a drug or reimbursed their members for purchases of a drug.”); 12

  In re Wellbutrin XL Antitrust Litig., 260 F.R.D. 143, 157 (E.D.

  Pa.   2009)   (“Wellbutrin   XL”)   (holding   that   indirect   purchaser

  plaintiffs had standing to bring claims under the laws of the state

  where “plaintiffs themselves are located” and “their members made

  purchases of” the drug).       But see In re K-Dur Antitrust Litig.,

  No. CIV.A. 01-1652(JAG), 2008 WL 2660783, at *5 (D.N.J. Mar. 19,

  2008) (holding that, where TPPs were “not suing derivatively for

  alleged injury to their members” but instead “asserting claims on

  their own behalf”, choice of law principles dictate that the law

  of the states where the TPPs have their principal place of business




        12
         Niaspan and Flonase are distinguishable from Asacol in that
  they hold that named plaintiffs may only pursue claims in the
  states in which they reside or provided reimbursements. See, e.g.,
  Niaspan, 42 F. Supp. 3d at 758; Flonase, 692 F. Supp. 2d at 533.
  Asacol controls the Court’s inquiry here.     Moreover, Defendants
  get no traction with their argument that, applying choice-of-law
  principles, the EPPs are limited to recovering only under the laws
  of the six states in which the TPPs are headquartered.        This
  argument has been rejected by the majority of courts to address
  it. See, e.g., In re Suboxone (Buprenorphine Hydrochloride and
  Naloxone) Antitrust Litig., 64 F. Supp. 3d 665, 694-95 (E.D. Pa.
  2014), on reconsideration in part 2015 WL 12910728 (E.D. Pa. Apr.
  14, 2015) (citing King Drug Co. of Florence, Inc. v. Cephalon,
  Inc., 702 F. Supp. 2d 514, 538 (E.D. Pa. 2010); Wellbutrin XL, 260
  F.R.D. at 156–57).
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  governs the claims).           The named TPPs are headquartered and/or

  purchased, paid for, and/or provided reimbursement for the drugs

  at    issue   in   the   following     states:         California,   Connecticut,

  Delaware, the District of Columbia, Florida, Illinois, Kansas,

  Maryland, Massachusetts, Michigan, Minnesota, Missouri, Nevada,

  New Jersey, New York, Ohio, Pennsylvania, Rhode Island, South

  Carolina, South Dakota, Texas, and Virginia.                  EPP Compl. ¶¶ 15-

  23.    They propose a class of purchasers in 49 states.                   See EPP

  State Law Claims Chart.        Specifically, they bring antitrust claims

  under the laws of 28 states; unfair or unconscionable acts and

  practices claims under the laws of 17 states; and unjust enrichment

  claims under the laws of 49 states.              Id.

         Defendants     argue    that,    even     under    Asacol’s     “sufficient

  personal stake” or “substantial stake” test, the named TPPs lack

  standing to bring (1) antitrust claims under the laws of the

  District      of   Columbia,   Hawaii,    Mississippi,       Nevada,    New   York,

  Oregon, Tennessee, and West Virginia; (2) consumer protection

  claims under the laws of the District of Columbia, Michigan,

  Nevada, New Mexico, New York, Rhode Island, Tennessee, and West

  Virginia; and (3) claims for enhanced or treble damages under the

  laws of Arizona, New Hampshire, New Mexico, North Dakota, the

  antitrust laws of Iowa and Michigan, or the consumer protection




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  laws of Massachusetts, Missouri, and Tennessee. 13                  Defs.’ Renewed

  Mot. to Dismiss 61; Defs.’ Reply in Supp. of the Renewed Mot. to

  Dismiss and Mot. for J. on the Pleadings (“Defs.’ Reply to Mot. to

  Dismiss”) 6, ECF No. 665-1.

         First, the named TPPs have Article III standing to bring

  antitrust claims under the laws of the District of Columbia,

  Hawaii, Mississippi, Nevada, New York, Oregon, Tennessee, and West

  Virginia.     While these states may require the named Plaintiffs to

  demonstrate that Defendants’ conduct had intrastate effect, the

  named TPPs also have a personal stake in doing so because they are

  headquartered      and/or       purchased,     paid        for,   and/or    provided

  reimbursement for the drugs at issue in the District of Columbia,

  Nevada,     and   New   York,    see   EPP    Compl.   ¶¶     15-23,   which   under

  Defendants’ own estimation, share this requirement.                    Moreover, as

  discussed further below, the EPPs’ Complaint alleges nationwide

  antitrust violations, the antitrust impact of which was felt within

  each    state.     With   these    allegations        in    hand,   the    effect   on

  intrastate commerce cannot seriously be disputed.                   See Asacol, 907


         13
          The Court does not address whether the named EPPs have
  standing to bring antitrust claims in Massachusetts, or consumer
  protection claims in Kansas, Iowa, Maine, Utah, Missouri, and
  Vermont, because the EPPs are not pursuing these claims. See EPP
  State Law Claims Chart. While some of the EPPs’ other state law
  claims are dismissed for failure to state a claim, as explained
  below, “an Article III court ordinarily must be sure of its own
  jurisdiction before getting to the merits.” Ortiz v. Fibreboard
  Corp., 527 U.S. 815, 816 (1999) (citing Steel Co. v. Citizens For
  a Better Environment, 523 U.S. 83, 88–89 (1989)).
                                           11
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  F.3d at 50 (“Warner, though, makes no showing that an effect on

  intrastate commerce will even be a disputed issue.”).

        Second, the named TPPs have “a substantial stake in proving

  up   a   case    that   is,   as     a     practical    matter,     unreliably

  distinguishable from proving willfulness”, Asacol, 907 F.3d at 50,

  under the consumer protection laws of the District of Columbia,

  Michigan, Nevada, New Mexico, New York, Rhode Island, Tennessee,

  and West Virginia, because the named TPPs are alleged to be

  headquartered     and/or   purchased,       paid   for,    and/or     provided

  reimbursement for the drugs at issue in each of these states save

  New Mexico, Tennessee, and West Virginia.

        Third, the named TPPs also have standing to bring enhanced or

  treble damages under various state laws.           See Defs.’ Renewed Mot.

  to Dismiss 61 (arguing the named EPPs do not have standing to bring

  these claims); see also Appendix B, Defs.’ Renewed Mot. to Dismiss

  (detailing the statutes under which the EPPs may be entitled to

  enhanced or treble damages).         The named TPPs have a substantial

  interest    in   establishing      that    Defendants     “flagrant[ly]”    or

  “willfully” violated the law, as they pursue their own claim under

  Michigan antitrust law, which provides that a jury may award up to

  treble damages for a “flagrant” violation.                 Mich. Comp. Laws

  § 445.778; see also     Ariz. Rev. Stat. § 44-1408(B) (treble damages

  for “flagrant” violation);      N.H. Rev. Stat. Ann. § 356:11(II) (up

  to treble damages for “willful or flagrant” violation); N.M. Stat.

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  Ann. § 57-1-3(A)(treble damages “if the facts so justify”); N.D.

  Cent.      Code   §   51-08.1-08(2)    (treble   damages    for   a   “flagrant”

  violation); Mass. Gen. Laws ch. 93A, § 9(3), 11 (treble damages

  for “willful or knowing” violation); Tenn. Code Ann. § 47-18-

  109(3)(treble damages for “willful or knowing” violations); Iowa

  Code § 553.12 (court may award “twice the actual damages”). 14

        Defendants do not attempt to apply the Asacol “substantial

  stake”     test    to   the   EPPs’   unjust   enrichment   claims    –   instead

  spilling much ink rearguing Asacol and staking out their position

  that the EPPs waived their unjust enrichment claims. See generally

  Defs.’ Renewed Mot. to Dismiss; Defs.’ Reply to Renewed Mot. to

  Dismiss.      In any event, the Court concludes that the named TPPs

  have a “substantial stake” in litigating the unjust enrichment

  claims under the laws of all jurisdictions in which they are

  asserted.         While several of the TPPs’ unjust enrichment claims

  under various state laws are dismissed below for failure to state

  a claim, the named TPPs have a substantial stake in pursuing each

  claim, given the similarity of the well-rehearsed elements of an

  unjust enrichment claim under the laws of each state.                 See In re


        14
         The EPPs have Article III standing to bring antitrust claims
  in the District of Columbia, Nevada, New York, enhanced or treble
  damages under the antitrust laws of Michigan and the consumer
  protection laws of Massachusetts, because they are headquartered
  or purchased, paid for, and/or provided reimbursement for the drugs
  at issue in those states. See Asacol, 907 F.3d at 47 (concluding
  that named plaintiffs have standing to bring claims under the state
  laws in which they purchased the drugs at issue).
                                           13
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  Suboxone      (Buprenorphine       Hydrochloride     and    Naloxone)       Antitrust

  Litig., 64 F. Supp. 3d 665, 703 (E.D. Pa. 2014) (“Suboxone”), on

  reconsideration in part 2015 WL 12910728 (E.D. Pa. Apr. 14, 2015)

  (“While it is true that the elements of unjust enrichment vary

  state by state, ‘almost all states at minimum require plaintiffs

  to   allege      that     they   conferred    a   benefit    or    enrichment    upon

  defendant and that it would be inequitable or unjust for defendant

  to accept and retain the benefit.’” (quoting Flonase, 692 F. Supp.

  2d at 541)).

        In sum, the named TPPs have Article III standing under the

  laws of the states in which they press their claims.                  See generally

  EPP State Law Claims Chart.

                2.     State-Specific Issues 15

                       a.     Whether Illinois       Brick    Bars     Suit   in   Eight
                              Jurisdictions

        Defendants contend that Illinois Brick bars the EPPs’ claims

  under      the     laws    of    eight   states     (viz.,        Idaho,    Illinois,

  Massachusetts, Missouri, Montana, Puerto Rico, Rhode Island, and

  Utah).     Defs.’ Renewed Mot. to Dismiss 62-65.              The EPPs disagree.


        15The Court has considered all arguments set forth in
  Defendants’ Motion to Dismiss, ECF No. 192, Defendants’ Renewed
  Motion to Dismiss, ECF No. 574-2, and replies thereto. The Court
  rejects, without further discussion, various arguments Defendants
  presented in their Motion to Dismiss. See, e.g., Defs.’ Mot. to
  Dismiss 153, 164 (arguing, for example, that Hawaii’s consumer
  protection statute has a pre-suit notice requirement and Nevada’s
  consumer protection statute only provides enforcement for elderly
  and disabled persons).
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  EPPs’ Mem. Of Law in Opp’n to Defs.’ Renewed Mot. to Dismiss &

  Mot. for J. on the Pleadings (“EPPs’ Opp’n to Renewed Mot. to

  Dismiss”) 10-21.

        Illinois.    Defendants contend that the Illinois Antitrust Act

  bars indirect purchaser class actions and that Illinois does not

  permit indirect purchasers to bring suit under its Consumer Fraud

  and Deceptive Business Practices Act as an “end-run” around the

  Illinois Antitrust Act.      Defs.’ Renewed Mot. to Dismiss 63.        The

  Court agrees.

        The Illinois Antitrust Act provides that

        No provision of this Act shall deny any person who is an
        indirect purchaser the right to sue for damages. . . .
        Provided further that no person shall be authorized to
        maintain a class action in any court of this State for
        indirect purchasers asserting claims under this Act,
        with the sole exception of this State’s Attorney
        General, who may maintain an action parens patriae as
        provided in this subsection.

  740 Ill. Comp. Stat. 10/7 (2010).        To sort this out, both parties

  invoke the United States Supreme Court’s decision in Shady Grove

  Orthopedic Associates, P.A. v. Allstate Insurance Co., 559 U.S.

  393 (2010). 16    In Shady Grove, the Supreme Court considered a New



        16Justice Stevens’s concurrence in Shady Grove is largely
  considered   the  controlling   opinion.     See   In  re   Nexium
  (Esomeprazole) Antitrust Litig., 968 F. Supp. 2d 367, 408-09 (D.
  Mass. 2013) (“Nexium I”); see also In re Trilegiant Corp., Inc.,
  11 F. Supp. 3d 82, 116–18 (D. Conn. 2014) (collecting cases). The
  EPPs maintain that Justice Scalia’s opinion should instead
  control. See EPPs’ Opp’n to Renewed Mot. to Dismiss 12, 13 n.14;
  see also In re Aggrenox Antitrust Litig., No. 3:14-MD-2516 (SRU),
  2016 WL 4204478, at *5-6 (D. Conn. Aug. 9, 2016) (“Aggrenox II”).
                                      15
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  York law that barred class action suits seeking recovery of a

  “penalty” or statutory minimum damages.          559 U.S. at 396.    The law

  in question was contained within a section of New York procedural

  law governing class certification.        Id. at 396 n.1; see also id.

  at 416 ((Stevens, J., concurring in part and concurring in the

  judgment) (“The New York law at issue . . . is a procedural rule

  that is not part of New York’s substantive law.”)).            The plurality

  reasoned that federal procedural rules apply in federal courts,

  and where state laws conflict with Rule 23, federal law preempts

  state law.   Id. at 409.    Justice Stevens reasoned that “[a] federal

  rule . . . cannot govern a particular case in which the rule would

  displace a state law that is procedural in the ordinary use of the

  term but is so intertwined with a state right or remedy that it

  functions to define the scope of the state-created right.” Shady

  Grove, 559 U.S. at 423 (Stevens, J., concurring in part and

  concurring in the judgment).        In other words, a federal rule may

  not operate to “effectively abridge[], enlarge[], or modif[y] a

  state-created right or remedy . . . .”           Id. at 422.

        Interpreting Shady Grove, the First Circuit has explained

  that, “[i]n getting at the potential rub in the relationship

  between a Federal Rule of Procedure and the state law, courts now

  ask if the federal rule is ‘sufficiently broad to control the issue

  before the court.’”     Godin v. Schencks, 629 F.3d 79, 86 (1st Cir.

  2010)   (quoting   Shady   Grove,   559   U.S.    at   421)    (Stevens,   J.,

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  concurring in part and concurring in the judgment)).                            If the

  federal rule is sufficiently broad to control the issue, the “rule

  must be given effect despite the existence of competing state law

  so long as the rule complies with the Rules Enabling Act.”                          Id.

  If it is not so broad, state law controls.                      Id.    That said, a

  federal court may decline to apply state law if doing so would

  further the central objectives of Erie: “discouragement of forum-

  shopping and avoidance of inequitable administration of the laws.”

  Id. (quoting Hanna v. Plumer, 380 U.S. 460, 468 (1965)).

         This Court is not the first in this Circuit to consider the

  applicability of Shady Grove to the Illinois Antitrust Act.                       See,

  e.g., In re Nexium (Esomeprazole) Antitrust Litig., 968 F. Supp.

  2d   367,   408-09      (D.    Mass.   2013)     (“Nexium   I”);      In   re   Solodyn

  (Minocycline Hydrochloride) Antitrust Litig., No. CV 14-MD-02503-

  DJC, 2015 WL 5458570, at *16-17 (D. Mass. Sept. 16, 2015) (“Solodyn

  I”).      The Nexium and Solodyn courts noted that the Illinois

  Antitrust        Act   appears    in    the     state’s    substantive      antitrust

  statute, not in any generally applicable procedural law.                        Solodyn

  I, 2015 WL 5458570, at *16-17 (citing Nexium I, 968 F. Supp. 2d at

  408–09).         This Court joins the Nexium and Solodyn courts in

  concluding that Rule 23 does not preempt Illinois antitrust law

  because     it    would   be    “an    application    of    a   federal    rule    that

  effectively abridges, enlarges, or modifies a state-created right

  or remedy.”       Shady Grove, 559 U.S. at 422 (Stevens, J., concurring

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  in part and concurring in the judgment).           Accordingly, the Court

  dismisses for lack of standing the EPPs’ claims under the Illinois

  Antitrust Statute.

        Defendants also argue that the EPPs do not have standing to

  bring claims under the Illinois Consumer Fraud and Deceptive

  Business Practices Act because it would allow an “end run” around

  the class action ban in the Illinois Antitrust Act. Defs.’ Renewed

  Mot. to Dismiss 63.       The Illinois Consumer Fraud and Deceptive

  Business    Practices    Act    provides   that    “[u]nfair   methods   of

  competition and unfair or deceptive acts or practices . . . in the

  conduct of any trade or commerce are hereby declared unlawful

  whether any person has in fact been misled, deceived or damaged

  thereby.”    815 Ill. Comp. Stat. 505/2.     The Illinois Supreme Court

  has held that this statute was not intended to be “an additional

  antitrust enforcement mechanism[,]” but instead, “[t]he language

  of the Act shows that its reach was to be limited to conduct that

  defrauds or deceives consumers or others.” Laughlin v. Evanston

  Hosp., 550 N.E.2d 986, 993 (Ill. 1990).           And so, this Court joins

  the majority of other courts in concluding that the EPPs do not

  have standing to maintain what is in essence an antitrust claim by

  another name under the Illinois Consumer Fraud and Deceptive

  Business Practices Act.        See, e.g., Solodyn I, 2015 WL 5458570, at

  *16-17; In re Aggrenox Antitrust Litig., No. 3:14-MD-2516(SRU),

  2016 WL 4204478, at *6-7 (D. Conn. Aug. 9, 2016) (“Aggrenox II”);

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  In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 422 (D.N.J.

  2018)(“Lipitor”); Wellbutrin XL, 260 F.R.D. at 162.

         Massachusetts.           Section 11 of the Massachusetts Consumer

  Protection Act (“MCPA”) confers standing to any person “who engages

  in the conduct of any trade or commerce . . . .”                Mass. Gen. Laws.

  ch. 93A, § 11.        Section 9, in turn, confers standing to any person

  “other    than    a    person    entitled   to    bring   action   under   section

  eleven.”    Mass. Gen. Laws. ch. 93A, § 9.                Whether the TPPs bring

  their claims under Section 9 or 11 matters because Massachusetts

  courts apply the Illinois Brick indirect-purchaser rule to Section

  11, but not to Section 9.             See Ciardi v. F. Hoffmann-La Roche,

  Ltd., 762 N.E.2d 303, 308, 311 (Mass. 2002) (noting that the “the

  rule   of   law       established    in   Illinois    Brick”    applies    to   the

  Massachusetts Antitrust Act, and that Section 11 of the MCPA

  “includes a specific provision that in any action brought under

  that section, the court shall be guided in its interpretation of

  unfair methods of competition by the provisions of the Antitrust

  Act”); Aggrenox II, 2016 WL 4204478, at *8 (citations omitted)

  (same).

         Sections 9 and 11 have been construed by many courts as binary

  – the former conferring standing to consumers and the latter

  conferring standing to businesses.               See, e.g., Cont’l Ins. Co. v.

  Bahnan, 216 F.3d 150, 156 (1st Cir. 2000) (“[S]ection 11 affords

  no relief to consumers and, conversely, section 9 affords no relief

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  to persons engaged in trade or commerce.”); Aggrenox II, 2016 WL

  4204478, at *8 (“[T]hose provisions are naturally construed to

  make section nine exclusively applicable to consumers and section

  eleven exclusively applicable to business entities.”).                        At least

  one court, alternatively, has held that non-profit union benefit

  funds could bring claims under section 9 of the MCPA because they

  were “not motivated by the desire to make money from the drugs and

  were acting within their core mission.”                     In re Pharm. Indus.

  Average Wholesale Price Litig., 491 F. Supp. 2d 20, 82 (D. Mass.

  2007), aff’d on other grounds by, 582 F.3d 156 (1st Cir. 2009);

  see also Frullo v. Landenberger, 814 N.E.2d 1105, 1112 (Mass. App.

  Ct.   2004)    (“Thus,     any   transaction      in    which     the   plaintiff   is

  motivated by business considerations gives rise to claims only

  under the statute’s business section.”).                    This Court concludes

  that the TPPs have failed to plead a claim for relief under Section

  9 of the MCPA because, even if some or all of the TPPs are non-

  profits,      they    are    “motivated      by        business     considerations”

  nonetheless.       See Frullo, 814 N.E.2d at 1112.                 Accordingly, the

  TPPs do not have standing to bring claims under the MCPA and those

  claims are dismissed.

        Idaho, Missouri, and Montana.          Defendants challenge the EPPs’

  standing      to   bring    claims   under     the      antitrust       and   consumer

  protection laws of Missouri and Montana, as well as the EPPs’

  claims under Idaho antitrust law.            Defs.’ Renewed Mot. to Dismiss

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  63-64.       The EPPs no longer press these claims, so they are

  dismissed.     See EPP State Law Claims Chart 2.

         Puerto Rico.        This Court joins the majority of courts in

  concluding that the EPPs do not have standing to bring antitrust

  claims under Puerto Rico law.                See, e.g., Solodyn I, 2015 WL

  5458570, at *15; In re Aggrenox Antitrust Litig., 94 F. Supp. 3d

  224, 252 (D. Conn. 2015) (“Aggrenox I”); In re TFT–LCD (Flat Panel)

  Antitrust Litig., 599 F. Supp. 2d 1179, 1188 (N.D. Cal. 2009)

  (“TFT-LCD II”); Nexium I, 968 F. Supp. 2d at 409–10.             Puerto Rico

  has    not   passed   an    Illinois    Brick-repealer   statute,   and    its

  antitrust law is interpreted in lockstep with the parallel federal

  law.    Aggrenox I, 94 F. Supp. 3d at 252 (quoting Caribe BMW, Inc.

  v. Bayerische Motoren Werke Aktiengesellschaft, 19 F.3d 745, 754

  (1st Cir. 1994)).          Accordingly, the Court dismisses the EPPs’

  claims under Puerto Rico antitrust law.

         Rhode Island.       Defendants argue that the EPPs do not have

  standing to bring their antitrust or consumer protection claims

  under Rhode Island law.             Defs.’ Renewed Mot. to Dismiss 64-65.

  With respect to the Rhode Island antitrust claim, the General

  Assembly passed an Illinois Brick-repealer statute, effective July

  15, 2013, which expressly conveys standing to indirect purchasers.

  R.I. Gen. Laws § 6-36-7(d).            The Court holds that the statute is

  “presumed     to   apply     only    prospectively,    absent   evidence   of

  legislative intent to the contrary.”            Solodyn I, 2015 WL 5458570,

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  at *15 (quoting Niaspan, 42 F. Supp. 3d at 759; citing Hydro–Mfg.,

  Inc.   v.   Kayser–Roth    Corp.,   640   A.2d   950,    954   (R.I.   1994)).

  Therefore, the EPPs’ recovery under the Rhode Island Antitrust Act

  is limited to damages incurred after July 15, 2013.

         Defendants also challenge the TPPs’ standing to bring claims

  under the Rhode Island Deceptive Trade Practices Act because,

  Defendants say, the TPPs are not consumers as defined by the

  statute.    Defs.’ Renewed Mot. to Dismiss 65.          The statute provides

  that “[a]ny person who purchases or leases goods or services

  primarily for personal, family, or household purposes” may bring

  a suit for damages.        R.I. Gen. Laws § 6-13.1-5.2.          The statute

  defines     “person”      broadly   to     include      “natural       persons,

  corporations, trusts, partnerships, incorporated or unincorporated

  associations, and any other legal entity.”              R.I. Gen. Laws § 6-

  13.1-1.     The TPPs do not allege that they have purchased or

  provided reimbursement for the drugs at issue “primarily for

  [their] personal, family, or household purposes”, and accordingly,

  they do not have standing to bring claims under the Rhode Island

  Deceptive Trade Practices Act.       See ERI Max Entertainment, Inc. v.

  Streisand, 690 A.2d 1351, 1354 (R.I. 1997)(holding that a video

  store did not having standing to bring a claim under the Rhode

  Island Deceptive Trade Practices Act because it plainly was not

  “[a]ny person who purchases or leases goods or services primarily

  for personal, family, or household purposes.”) (internal citation

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  omitted).     Accordingly, the Court dismisses claims under the Rhode

  Island Deceptive Trade Practices Act for lack of standing.

        Utah.     Utah’s Illinois Brick-repealer law permits only “[a]

  person who is a citizen of this state or a resident of” Utah to

  bring an antitrust-damages claim.           See Utah Code Ann. § 76–10–

  3109.      The EPPs have failed to allege that any of its named class

  members are citizens or residents of Utah, and thus, the Court

  dismisses any claims brought under the antitrust laws of Utah.

  See Lipitor, 336 F. Supp. 3d at 419 (requiring at least one named

  plaintiff be a resident or citizen of Utah to bring a claim under

  Utah antitrust law) (citing In re Opana ER Antitrust Litig., 162

  F. Supp. 3d 704, 725 (N.D. Ill. 2016); Aggrenox I, 94 F. Supp. 3d

  at 251-52; Niaspan, 42 F. Supp. 3d at 759-60; Nexium I, 968 F.

  Supp. 2d at 410; In Re Magnesium Oxide Antitrust Litig., No. 10-

  5943, 2011 WL 5008090, at *8 n.10 (D.N.J. Oct. 20, 2011)).

                     b.     Antitrust Claims 17

        Defendants argue that the EPPs’ antitrust claims should be

  dismissed.       Defs.’    Renewed   Mot.   to   Dismiss   65-67.   First,

  Defendants argue that four states – Arizona, Hawaii, Nevada, and


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         The EPPs do not press antitrust claims under the laws of
  Alabama, Alaska, Arkansas, Colorado, Connecticut, Delaware,
  Georgia,   Idaho,   Indiana,   Kentucky,  Louisiana,  Maryland,
  Massachusetts, Missouri, Montana, New Jersey, Ohio, Oklahoma,
  Pennsylvania, South Carolina, Texas, Virginia, Washington, and
  Wyoming.   Accordingly, the Court does not address Defendants’
  arguments with respect to these claims. See generally EPP State
  Law Claims Chart.
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  Utah – have pre-filing notice requirements with which the EPPs

  failed to comply.     Id. at 65.   The EPPs counter that dismissal for

  failure   to   comply   with   pre-suit    notice   requirements   to   the

  Attorneys General of these states would be inconsistent with the

  remedial purpose of the statutes.         EPPs’ Opp’n to Renewed Mot. to

  Dismiss 21.    Moreover, they say, these state law requirements are

  procedural and, thus, preempted by federal procedural rules under

  Shady Grove.    Id. at 21-22.

        The Court concludes that Rule 23 is not so broad as to preempt

  these state statutory notice provisions.        These notice provisions

  create a prerequisite for filing an antitrust lawsuit under the

  states’ laws; they do not create requirements for maintaining a

  class action.     See Shady Grove, 559 U.S. at 399 (law at question

  was preempted because it “attempt[ed] to answer the same question”

  as Rule 23).    The state notice provisions in question do “not seek

  to displace the Federal Rules or have [Rule 23] cease to function.”

  Godin, 629 F.3d at 88.      Moreover, “to decline to apply these laws

  in federal court would encourage forum shopping and the inequitable

  administration of laws.”       In re Asacol Antitrust Litig., No. 15-

  CV-12730-DJC, 2016 WL 4083333, at *15 (D. Mass. July 20, 2016)

  (“Asacol II”) (citing Godin, 629 F.3d at 92).         For these reasons,

  the Court dismisses the antitrust claims under the laws of Arizona,




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  Hawaii, and Nevada. 18

        Second, Defendants argue the EPPs failed to allege intrastate

  conduct as required by the antitrust laws of the District of

  Columbia, Hawaii, Massachusetts, Mississippi, Nevada, New York,

  Oregon, Tennessee, and West Virginia.             Defs.’ Renewed Mot. to

  Dismiss 66.     This Court joins the majority of courts in concluding

  that the EPPs have sufficiently pled intrastate activity where

  they allege nationwide antitrust violations, the antitrust impact

  of which was felt within each state.          See, e.g., Aggrenox I, 94 F.

  Supp. 3d at 253 (“it is not obvious why the intra state effect of

  anticompetitive conduct would not be reached by the cited statutes

  merely because inter state conduct predominates”); Solodyn I, 2015

  WL   5458570,    at   *16   (holding   that   allegations   of   nationwide

  antitrust violation that results in increased prices paid within

  each state are sufficient to allege intrastate commerce (citing In

  re Digital Music Antitrust Litig., 812 F. Supp. 2d 390, 407-08

  (S.D.N.Y. 2011)(“Digital Music”))); Suboxone, 64 F. Supp. 3d at

  698-99; Sheet Metal Workers Local 441 Health & Welfare Plan v.

  GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 393-402 (E.D. Pa. 2010)

  (“Wellbutrin SR”).

        Third, Defendants argue that the EPPs’ monopolization claims




        18The Court has previously concluded that the EPPs do not
  have standing to bring their antitrust claim under Utah law, and
  so, that claim is dismissed for the reasons explained above.
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  under the state laws of Kansas, New York, and Tennessee are

  premised on Warner Chilcott’s unilateral conduct, and thus, do not

  satisfy the concerted action required by those states’ laws.

  Defs.’ Renewed Mot. to Dismiss 66-67.                 They contend the EPPs’

  claims are not cognizable under California law for a similar

  reason.    Id.   The First Claim for Relief in the EPPs’ Complaint

  alleges monopolization and a monopolistic scheme under state law

  against Warner Chilcott.        EPP Compl. ¶¶ 338-45.          Specifically, it

  alleges that “[t]hrough the overarching anticompetitive scheme, as

  alleged extensively [in the Complaint], Warner Chilcott willfully

  maintained     its   monopoly    power    .   .   .    using    restrictive   or

  exclusionary conduct” and injured the plaintiffs as a result.                 Id.

  ¶ 340.     Among other things, the EPPs allege that Defendants

  “knowingly, willfully, and wrongfully maintained their monopoly

  power and harmed competition” by committing fraud on the PTO,

  listing the patent in the Orange Book, filing sham lawsuits,

  entering into a reverse payment with Watson, and effectuating a

  product hop.     Id. ¶ 342.

        The EPPs have alleged sufficient concerted action to plead a

  cause of action under the state antitrust laws of Kansas, New York,

  and Tennessee, insofar as they allege a reverse payment with

  Watson. Their monopolization claims may proceed only to the extent

  they are premised on this alleged reverse payment.                See Lipitor,

  336 F. Supp. 3d at 421 (holding that the antitrust laws of Kansas,

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  New York, and Tennessee require concerted action between parties,

  granting the defendants’ motion to dismiss as it related to claims

  alleging    unilateral     conduct,     and      declining       to   dismiss     claims

  alleging reverse payment agreements).

        For     the   reasons   stated,      the     Court    dismisses       the   EPPs’

  antitrust     claims     brought   under     the    laws    of    Arizona,      Hawaii,

  Illinois, Nevada, Puerto Rico, and Utah.                     The EPPs’ antitrust

  claims under the laws of California, the District of Columbia,

  Florida, Iowa, Maine, Michigan, Minnesota, Mississippi, Nebraska,

  New Hampshire, New Mexico, North Carolina, North Dakota, Oregon,

  South Dakota, Tennessee, Vermont, West Virginia, and Wisconsin may

  proceed.      The EPPs’ antitrust claim under Rhode Island law may

  proceed with respect to damages incurred after July 15, 2013, and

  the   EPPs’    monopolization      claims     under    Kansas,        New   York,   and

  Tennessee law may proceed insofar as they allege a reverse payment

  with Watson.

                      c.    Consumer   Protection            and    Deceptive       Trade
                            Practices Claims 19

        Defendants move to dismiss the EPPs’ consumer protection


        19The Court uses the terms “Unfair or Unconscionable Acts and
  Practices Claims” and “Consumer Protection and Deceptive Trade
  Practices Claims” interchangeably.     Moreover, the EPPs do not
  pursue consumer protection claims under the laws of the following
  states:     Alabama, Alaska, Arkansas, Colorado, Connecticut,
  Delaware, Georgia, Indiana, Iowa, Kansas, Kentucky, Louisiana,
  Maine, Maryland, Minnesota, Mississippi, Missouri, Montana, New
  Jersey, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,
  Pennsylvania, Puerto Rico, South Carolina, South Dakota, Texas,
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  claims.    See Defs.’ Renewed Mot. to Dismiss 67; Defs.’ Reply to

  Renewed Mot. to Dismiss 8, 23.         First, Defendants challenge the

  EPPs’ monopolization claim under two California statutes, arguing

  that (1) California’s Cartwright Act does not recognize unilateral

  conduct, and (2) California’s Unfair Competition Law “does not

  authorize awards of damages at law [. . . .]”        Defs.’ Renewed Mot.

  to Dismiss 66-67 (quoting In re Terazosin Hydrochloride Antitrust

  Litig., 160 F. Supp. 2d 1365, 1379 (S.D. Fla. 2001) (“Terazosin”)).

  The EPPs assert their claim under the California Unfair Competition

  Law, Cal. Bus. & Prof. Code § 17200, et seq., and not under the

  Cartwright Act.    See EPPs’ Opp’n to Defs.’ Renewed Mot. to Dismiss

  25. While the parties agree that the California Unfair Competition

  Law does not allow for damages awards at law, even the case cited

  (out of context) by Defendants held that the end payors there had

  stated a claim for relief because the California Unfair Competition

  Law   “explicitly provides that ‘[t]he court may make such orders

  or judgments . . . as may be necessary to restore to any person in

  interest any money . . . which may have been acquired by . . .

  unfair competition.’”     Terazosin, 160 F. Supp. 2d at 1379 (quoting

  Cal. Bus. & Prof. Code § 17203).      Accordingly, Defendants’ Renewed

  Motion to Dismiss is denied as to the EPPs’ claim for monetary




  Utah, Vermont, Virginia, Washington, Wisconsin, and Wyoming.           See
  generally EPP State Law Claims Chart.
                                      28
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  relief under the California Unfair Competition Law.

        Second, Defendants argue that the EPPs have failed to comply

  with West Virginia’s consumer protection law pre-filing notice

  requirement.    Defs.’ Renewed Mot. to Dismiss 67.        For the reasons

  stated above with respect to certain of the EPPs’ state law

  antitrust claims requiring pre-suit notice, the Court dismisses

  the EPPs’ West Virginia consumer protection claim.

        Third, Defendants aver the EPPs did not allege intrastate

  conduct as required by the consumer protection laws in Florida,

  New Hampshire, and New York.        Defs.’ Renewed Mot to Dismiss 67;

  Defs.’ Reply to Renewed Mot. to Dismiss 23-25. 20        Notably, the TPP

  class has a named TPP headquartered or with reimbursements in each

  of these states.    See generally Appendix A, EPPs’ Mem. in Opp’n to

  Defs.’ Renewed Mot. to Dismiss and Mot. for J. on the Pleadings,

  ECF No. 613-1.     As stated above in the context of the EPPs’ state

  law   antitrust    claims,    the   Court   concludes    that   the   EPPs

  sufficiently pled intrastate activity under the named consumer

  protection laws where they allege overcharge damages for purchases

  at supracompetitive prices, the impact of which was felt within

  each state.       See, e.g., Flonase, 692 F. Supp. 2d at 537-38

  (Florida); Wellbutrin XL, 260 F.R.D. at 162 (Florida); Suboxone,


        20
         The Court holds that the EPPs do not have standing to pursue
  their consumer protection claim under Massachusetts law, and the
  EPPs do not pursue their consumer protection claim under North
  Carolina law. The Court does not address these arguments.
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  64   F.   Supp.   3d   at   702   (holding   that    end-payor      plaintiffs

  sufficiently pled intrastate conduct under New York’s consumer

  protection law, N.Y. Gen. Bus. L. § 349, where they alleged

  overcharges occurred in the state); Solodyn I, 2015 WL 5458570, at

  *16 (holding that allegations of nationwide antitrust violation

  that results in increased prices paid within each state, including

  New Hampshire and New York, were sufficient to allege intrastate

  commerce (citing Digital Music, 812 F. Supp. 2d at 407-08)).

  Accordingly, Defendants’ renewed motion to dismiss the consumer

  protection claims under the laws of Florida, New Hampshire, and

  New York is denied.

        Fourth, Defendants contend that the EPPs cannot bring claims

  in nine states that limit actions to consumers:                  Iowa, Kansas,

  Maine, Missouri, Montana, North Carolina, Rhode Island, Utah, and

  Vermont.   Defs.’ Reply to Renewed Mot. to Dismiss 27-29.               In light

  of the EPPs’ Notice of Submission in Response to the Court’s

  September 17, 2019 Order, see ECF No. 1231, the Court denies as

  moot Defendants’ Renewed Motion to Dismiss with respect to the

  consumer protection claims under the laws of Iowa, Kansas, Maine,

  Missouri, Montana, North Carolina, Utah, and Vermont. With respect

  to Rhode Island, and as discussed above, the TPPs do not have

  standing under the Rhode Island consumer protection statute, and

  therefore, that claim is also dismissed.

        Fifth,   Defendants    argue   that    the   EPPs   have    not   alleged

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  consumer   deception     or    reliance   as    required   by   the   consumer

  protection laws of Michigan, Nevada, New York, and Tennessee.

  Defs.’ Renewed Mot. to Dismiss 68-69; see also Defs.’ Mot. to

  Dismiss 156-58.       They further argue that the consumer protection

  laws of the District of Columbia and New Mexico require Plaintiffs

  to allege and prove affirmative unconscionable conduct.                 Defs.’

  Renewed Mot. to Dismiss 68-69.

         Michigan.     Michigan’s consumer protection statute prohibits

  “[u]nfair,       unconscionable,    or    deceptive    methods,       acts    or

  practices,” which includes “[c]harging the consumer a price that

  is grossly in excess of the price at which similar property or

  services are sold.” Mich. Comp. Laws Ann. § 445.903(1)(z).                   The

  EPPs   allege    overcharges    caused    by   Defendants’   anticompetitive

  conduct, and this squarely falls within the statute.             See Solodyn

  I, 2015 WL 5458570, at *17 (holding that Michigan’s consumer

  protection law covered the end-payor plaintiffs’ reverse payment

  allegations).       The Court denies Defendants’ Renewed Motion to

  Dismiss with respect to Michigan’s consumer protection statute.

         Nevada.     Nevada’s consumer protection statute provides that

  “[a] person engages in a ‘deceptive trade practice’ when in the

  course of his or her business or occupation he or she knowingly

  . . . [v]iolates a state or federal statute or regulation relating

  to the sale or lease of goods or services.”                  Nev. Rev. Stat.

  § 598.0923(3).       The EPPs plainly pled violations of state and

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  federal law relating to the sale of goods.                     The Court joins the

  majority of courts in holding that the Nevada Deceptive Trade

  Practices       Act   does    not   require       plaintiffs   to   plead   consumer

  reliance.       See     In re Effexor Antitrust Litig., 337 F. Supp. 3d

  435, 464–65 (D.N.J. 2018) (“Effexor”) (citing In re Pharm. Indus.

  Average Wholesale Price Litig., 252 F.R.D. 83, 98 (D. Mass. 2008);

  In re Packaged Seafood Prods. Antitrust Litig., 242 F. Supp. 3d

  1033,    1080-81      (S.D.    Cal.    2017)      (“Packaged    Seafood     Prod.”)).

  Therefore, the Court denies Defendants’ Renewed Motion to Dismiss

  with respect to the EPPs’ claims predicated on the Nevada Deceptive

  Trade Practices Act.

         New York.        New York’s consumer protection statute provides

  that “[d]eceptive acts or practices in the conduct of any business,

  trade or commerce or in the furnishing of any service in this state

  are hereby declared unlawful.”               N.Y. Gen. Bus. Law § 349(a).           The

  EPPs    again    have    alleged      that   they    paid   overcharges     based    on

  Defendants’ alleged misconduct, and the Court is satisfied that

  this states a claim for relief under Section 349 of the New York

  General Business Law.          See Effexor, 337 F. Supp. 3d at 466 (holding

  that end-payor plaintiffs’ stated claim for relief under N.Y. Gen.

  Bus. Law § 349(a) where they alleged defendants’ anticompetitive

  conduct caused them to pay overcharges); In re TFT-LCD (Flat Panel)

  Antitrust Litig., 586 F. Supp. 2d 1109, 1128-29 (N.D. Cal. 2008)

  (“TFT-LCD I”)(same); In re Dynamic Random Access Memory (DRAM)

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  Antitrust Litig., 536 F. Supp. 2d 1129, 1143-44 (N.D. Cal. 2008)

  (same).     The Court denies Defendants’ Renewed Motion to Dismiss

  with respect to New York’s consumer protection statute.

        Tennessee.       Tennessee’s   consumer    protection   statute   sets

  forth a list of unfair and deceptive acts, followed by a catch-

  all provision that prohibits “[e]ngaging in any other act or

  practice which is deceptive to the consumer or to any other

  person.”    Tenn. Code Ann. § 47–18–104(b)(27).        After scouring the

  statute, the Court concludes that the EPPs’ allegations fall only

  within this catch-all. However, the catch-all further states “that

  enforcement of this subdivision (b)(27) is vested exclusively in

  the office of the attorney general and reporter”, and accordingly,

  the Court dismisses the EPPs’ consumer protection claim under

  Tennessee law.       See Solodyn I, 2015 WL 5458570, at *17.          Because

  the Tennessee consumer protection claim fail for this reason, the

  Court need not address Defendants’ argument that the Tennessee

  consumer protection claim fails due to a state class action bar.

  See Defs.’ Renewed Mot. to Dismiss 67.

        New Mexico. Defendants move to dismiss the EPPs’ claims under

  the   New   Mexico    Unfair   Practices   Act   for   failure   to    allege

  unconscionable conduct towards consumers, which Defendants say

  requires affirmative misconduct.          Defs.’ Renewed Mot. to Dismiss

  68.   The New Mexico Unfair Practices Act prohibits “[u]nfair or

  deceptive trade practices and unconscionable trade practices in

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  the conduct of any trade or commerce”.           N.M. Stat. Ann. § 57-12-

  3.   The statute further defines “unconscionable trade practice” as

  “an act or practice in connection with the sale . . . of any goods

  or services . . . that to a person’s detriment . . . results in a

  gross disparity between the value received by a person and the

  price paid.”    N.M. Stat. Ann. § 57-12-2(E).          The Court concludes

  that the EPPs have sufficiently pled that Defendants’ alleged

  anticompetitive     conduct   caused     them   to   pay   overcharges   that

  constitute a “gross disparity” between the value paid and that

  received, and denies Defendants’ Renewed Motion to Dismiss on this

  score accordingly.      See Effexor, 337 F. Supp. 3d at 465 (citing

  cases); TFT-LCD I, 586 F. Supp. 2d at 1127.          But see In re Graphics

  Processing Units Antirust Litig., 527 F. Supp. 2d 1011, 1029-30

  (N.D. Cal. 2007) (dismissing claims under the laws of the District

  of Columbia, Arkansas, Kansas, and New Mexico because “pleading

  unconscionability requires something more than merely alleging

  that the price of a product was unfairly high”).

        District of Columbia.     The Court is similarly satisfied that

  the EPPs have stated a claim for relief under the District of

  Columbia’s consumer protection statute.              See TFT-LCD I, 586 F.

  Supp. 2d at 1126 (holding that the District of Columbia’s consumer

  protection statute is a “comprehensive statute designed to provide

  procedures and remedies for a broad spectrum of practices which

  injure consumers”, and thus, the plaintiffs could maintain a claim

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  for price fixing (quoting Atwater v. District of Columbia Dep’t of

  Consumer & Reg. Affairs, 566 A.2d 462, 465 (D.C. 1989))); see also

  In re New Motor Vehicles Canadian Export Antitrust Litig., 350 F.

  Supp. 2d 160, 182–83 (D. Me. 2004) (“New Motor I”) (allowing an

  antitrust claim to proceed under the District of Columbia consumer

  protection statute). Moreover, the EPPs were not required to plead

  an affirmative unconscionable act to state a claim under the

  statute.    See In re Processed Egg Prods. Antitrust Litig., 851 F.

  Supp. 2d 867, 899 (E.D. Pa. 2012) (“Processed Egg Prods.”) (holding

  that, while “certain of the enumerated ‘unlawful trade practices’

  as defined by D.C. Code § 28–3904 may require the element of

  unconscionable conduct to be alleged,”              unconscionable conduct is

  not    required    to   plead    “a   violation     of    the    Antitrust     Act   to

  constitute an unlawful trade practice under” the District of

  Columbia’s consumer protection statute); see also Packaged Seafood

  Prod., 242 F. Supp. 3d at 1073 (same).

         Sixth,     Defendants     move    to      dismiss       the   EPPs    consumer

  protection claims in Arizona, the District of Columbia, Idaho,

  Michigan, Nebraska, New Mexico, and New York for failure to plead

  that    “deceitful      conduct”      occurred    with     a     specific    consumer

  transaction or with a direct consumer nexus.                    Defs.’ Renewed Mot.

  to    Dismiss   69.     The     Court   joins    the     majority    of     courts   in

  concluding that it is sufficient, under the consumer protection



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  laws of Arizona, the District of Columbia, Idaho, 21 Michigan,

  Nebraska, New Mexico, and New York, to allege that a defendant’s

  anticompetitive conduct of the sort alleged here caused end-payor

  plaintiffs to pay overcharges in the form of higher prices for

  brand drugs.    See In re Remicade Antitrust Litig., 345 F. Supp. 3d

  566, 588 (E.D. Pa. 2018) (holding that the indirect purchaser

  plaintiffs had sufficiently pled a cause of action “under the

  ‘substantial nexus’ requirement of California, New York and North

  Carolina”    where they alleged that the defendants’ “exclusionary

  scheme resulted in [the drug and related products] being sold at

  artificially    inflated   prices   and   caused   overcharges   in   those

  states”); Suboxone, 64 F. Supp. 3d at 702 (holding that similar

  allegations had set forth a viable claim under New York law); In

  re DDAVP Indirect Purchaser Antitrust Litig., 903 F. Supp. 2d 198,

  207, 219, 221 (S.D.N.Y. 2012) (holding that indirect-purchaser

  plaintiffs plausibly alleged a cause of action under the consumer

  protection laws of Arizona, Idaho, Michigan, New Mexico, and New

  York in a suit alleging Walker Process fraud, sham litigation, and

  fraudulent listing in the Orange Book, among other things); New




        21Defendants also argue the Idaho Consumer Protection Act
  only allows for the recovery of restitution (not damages) and that
  the EPPs’ expert, Dr. French, has not proposed a method by which
  to quantify such restitution. Defs.’ Renewed Mot. to Dismiss 63.
  Defendants do not explain why a restitution theory of recovery
  cannot be maintained using Dr. French’s damages model, and the
  Court is confident it can.
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  Motor I, 350 F. Supp. 2d at 184-85 (holding that plaintiff-

  consumers stated a claim for relief under the Idaho Consumer

  Protection    Act   where   they   alleged   antitrust   violations,   the

  statute instructs courts to be deferential to the Federal Trade

  Commission Act, and the Idaho Supreme Court has directed courts to

  construe the ICPA liberally in light of the legislative intent “to

  deter deceptive or unfair trade practices and to provide relief

  for consumers exposed to proscribed practices” (quoting State ex

  rel. Lance v. Hobby Horse Ranch Tractor and Equip. Co., 929 P.2d

  741, 743 (Idaho 1996)); Lipitor, 336 F. Supp. 3d at 423 (holding

  that end-payor plaintiffs in a reverse payment suit adequately

  pled a cause of action under the Nebraska Consumer Protection Act

  where they alleged that the anticompetitive scheme “had an indirect

  impact on Nebraska consumers” and therefore, “the scheme impacted

  the public interest”); Processed Egg Prods., 851 F. Supp. 2d at

  897–98 (holding that indirect purchaser plaintiffs had alleged a

  claim under the District of Columbia Consumer Protection Act); In

  re Chocolate Confectionary Antitrust Litig., 602 F. Supp. 2d 538,

  583-84 (M.D. Pa. 2009) (stating that the District of Columbia

  Consumer Protection Act “subsumes a Sherman Act claim and creates

  an indirect purchaser cause of action for conspiratorial price

  fixing regardless of whether defendants have engaged in deceptive

  conduct”).

        For the reasons stated above, the Court dismisses the EPPs’

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  consumer        protection        claims    under     the     states      of    Illinois,

  Massachusetts, Rhode Island, Tennessee, and West Virginia.                            The

  EPPs’        consumer    protection    claims       under    the   laws    of    Arizona,

  California, the District of Columbia, Florida, Hawaii, Idaho,

  Michigan, Nebraska, Nevada, New Hampshire, New Mexico, and New

  York may proceed.

                          d.   Unjust Enrichment Claims 22

          The EPPs bring unjust enrichment claims under the laws of

  every state except for Indiana, Ohio, and Puerto Rico.                           See EPP

  State Law Claims Chart n.1.                Defendants mount challenges to each

  claim.        See generally Defs.’ Mot. to Dismiss 165-75.

          First, Defendants argue that the EPPs cannot assert unjust

  enrichment       claims      in   states    in   which      Illinois   Brick-repealer

  statutes have not been passed, viz., Alabama, Alaska, Colorado,

  Connecticut,        Delaware,        Florida,       Georgia,       Idaho,       Illinois,

  Kentucky, Louisiana, Maryland, Massachusetts, Missouri, Montana,


          22
          Defendants assert that the EPPs have failed to press their
  unjust enrichment claims because they attached a “a compilation of
  the federal and state antitrust and consumer protection laws at
  issue in this case”, and they did not include a list of unjust
  enrichment claims. See Decl. of Michael M. Buchman ¶ 3, ECF No.
  528-2 (attaching “a compilation of the federal and state antitrust
  and consumer protection laws at issue in this case”); see also
  EPPs’ Chart of Antitrust and Consumer Protection Laws, ECF No.
  528-5 (including no unjust enrichment claims). The Court declines
  to deem the EPPs’ unjust enrichment claims abandoned on this basis,
  and nor does the Court consider Defendants’ challenges to these
  claims waived. See EPPs’ Opp’n to Renewed Mot. to Dismiss 39-41
  (arguing the Court should deem waived Defendants’ challenges to
  their unjust enrichment claims).
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  New Jersey, Oklahoma, Pennsylvania, Rhode Island, South Carolina,

  Texas, Utah, and Virginia.         See Appendix 3 at viii-ix, Defs.’ Mem.

  in Support of Mot. to Dismiss, ECF No. 198.                  The Court agrees and

  joins other courts in holding “that indirect purchasers may not

  bring state claims for unjust enrichment if they otherwise would

  be barred from bringing a claim under that state’s antitrust and

  consumer protection statutes, absent a showing that the common law

  of the state in question expressly allows for such recovery.”

  Solodyn I, 2015 WL 5458570, at *18 (quoting Niaspan, 42 F. Supp.

  3d at 763); see also Wellbutrin SR, 737 F. Supp. 2d at 425.

  Accordingly,    the    unjust     enrichment      claims       under    the    laws    of

  Alabama,     Alaska,    Colorado,        Connecticut,          Delaware,      Florida,

  Georgia,     Idaho,     Illinois,        Kentucky,          Louisiana,        Maryland,

  Massachusetts,        Missouri,     Montana,          New      Jersey,        Oklahoma,

  Pennsylvania,    South    Carolina,       Texas,       Utah,    and     Virginia      are

  dismissed.      Rhode    Island    now    has    an    Illinois        Brick-repealer

  statute, and thus, the unjust enrichment claim under Rhode Island

  law is no longer contrary to the public policy of that state.

        Second,    Defendants       argue       that    neither      California         nor

  Mississippi recognize unjust enrichment as an independent cause of

  action.    Defs.’ Mot. to Dismiss 166. 23            With respect to California,




        23
         The Court need not address this argument with respect to
  Georgia and Illinois because those claims are dismissed for the
  reasons set forth above. See Defs.’ Mot. to Dismiss 166.
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  both parties are correct.            As the Ninth Circuit recently noted,

  “some   California     courts      do   not     recognize      a    claim   for     unjust

  enrichment,”      1617 Westcliff LLC v. Wells Fargo Bank N.A., 686 F.

  App’x   411,   415    n.6   (9th    Cir.      2017)    (citing       Durell    v.    Sharp

  Healthcare, 183 Cal. App. 4th 1350 (2010)), but “others, including

  [the Ninth Circuit] treat it as an equitable cause of action with

  restitution as a remedy.”           Id. (citing Berger v. Home Depot USA,

  Inc., 741 F.3d 1061, 1070 (9th Cir. 2014); Ghirardo v. Antonioli,

  924 P.2d 996, 1003 (Cal. 1996) (“[A]n individual may be required

  to make restitution if he is unjustly enriched at the expense of

  another.”)).      Because California law is unclear on this issue, and

  there is a California Supreme Court case recognizing the cause of

  action,    this    Court    joins       several    other       district       courts    in

  concluding that there is no “settled basis on which to dismiss the

  end payors’ unjust enrichment claim.”                 Solodyn I, 2015 WL 5458570,

  at *20 (citing Processed Egg Prods., 851 F. Supp. 2d at 913

  (denying    defendants’        motion      to     dismiss          California       unjust

  enrichment claim because “California courts have not uniformly or

  definitively barred an independent cause of action for unjust

  enrichment”)).

        The Court also rejects Defendants’ argument that Mississippi

  law does not recognize an independent cause of action for unjust

  enrichment.       A   simple    search        yields    many       cases    out   of   the

  Mississippi Supreme and Appellate Courts within the past decade

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  recognizing     unjust   enrichment        as     a    cause        of   action   under

  Mississippi law.      See, e.g., Willis v. Rehab Solutions, PLLC, 82

  So.3d    583,   588   (Miss.     2012)    (“Unjust          enrichment      applies   in

  situations where no legal contract exists, and the person charged

  is in possession of money or property which, in good conscience

  and justice, he or she should not be permitted to retain . . .

  .”); Carlson v. Brabham, 199 So.3d 735, 744 (Miss. App. Ct. 2016)

  (“Unjust enrichment is defined as money paid to another by mistake

  of fact.”) (internal citations omitted); Triangle Constr. Co. v.

  Fouche & Assocs., Inc., 218 So. 3d 1180, 1187 (Miss. Ct. App. 2017)

  (“To collect under an unjust enrichment or quasi-contract theory,

  the claimant must show there is no legal contract but . . . the

  person sought to be charged is in possession of money or property

  which in good conscience and justice he should not retain, but

  should deliver to another.” (quoting Franklin v. Franklin ex rel.

  Phillips, 858 So.2d 110, 121 (Miss. 2003) (citations and quotations

  omitted))).     Accordingly, the Court denies Defendants’ motion to

  dismiss the claims for unjust enrichment under California and

  Mississippi law.

        Third,    Defendants      contend    that       the    EPPs    have   improperly

  dressed up their antitrust violations as unjust enrichment claims.

  Defs.’   Mot.   to    Dismiss    167-69.        They        say   the    EPPs’    unjust

  enrichment claims must fail (1) where there is an adequate remedy

  at law, (2) where they serve as an end-run to Illinois Brick, and

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  (3) under the laws of states in which the EPPs assert no claims

  other than unjust enrichment.         Id.   As stated above, the Court

  agrees with Defendants that the EPPs may not use unjust enrichment

  claims as an end-run to Illinois Brick.        And while it is generally

  true that one cannot recover under an unjust enrichment theory

  where a remedy at law is available, the EPPs are entitled to plead

  alternative theories.       See Solodyn I, 2015 WL 5458570, at *19

  (holding that end-payor plaintiffs could “plead in the alternative

  equitable claims along with legal claims”).           The EPPs may also

  proceed with their unjust enrichment claims under the laws of the

  states in which they assert no other claims, so long as the state

  has passed an Illinois Brick-repealer statute signaling that such

  a cause of action would not violate the state’s public policy.

  See In re Cardizem CD Antitrust Litig., 105 F. Supp. 2d 618, 669

  (E.D. Mich. 2000) (“Cardizem”).        In rejecting a similar argument,

  one court noted that such an argument “confuses Plaintiffs’ right

  to recover an equitable remedy under a common law claim based upon

  principles of unjust enrichment with its right to recover a remedy

  at law for an alleged violation of a state’s antitrust laws”.          Id.

  Indeed, “courts often award equitable remedies under common law

  claims for unjust enrichment in circumstances where” other state

  law claims fail.     Id.

        Fourth,    Defendants    move    to   dismiss   the   EPPs’   unjust

  enrichment claims on the basis that they have failed to allege a

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  special relationship between the EPPs and Defendants.                            Defs.’ Mot.

  to Dismiss 169-70.              Specifically, Defendants argue that the EPPs

  failed to allege privity (or something similar), as required by

  five      states’      unjust    enrichment        laws,     and    failed      to    allege    a

  relationship with Defendants leading to a direct benefit, as

  required under the laws of twenty-four states.                             Id. at 170-75.

  Because the EPPs’ unjust enrichment claims under the laws of

  Alabama,         Florida,         Georgia,          Idaho,         Illinois,         Maryland,

  Massachusetts, New Jersey, Pennsylvania, and South Carolina are

  dismissed for reasons set forth above, the Court does not address

  this argument with respect to these states’ laws.

            Upon review of state appellate court and federal district

  court cases interpreting state law, the Court concludes that the

  following states do not require a plaintiff to plead the conferral

  of    a    direct      benefit    in   order       to   state      a    claim    for       unjust

  enrichment:            Arizona, District of Columbia, Kansas, Michigan,

  North Carolina, West Virginia, and Wisconsin.                          See Solodyn I, 2015

  WL 5458570, at *18 (citing Processed Egg Prods., 851 F. Supp. 2d

  at 927–35 (addressing Kansas, North Carolina, Utah, and West

  Virginia law)); Cardizem, 105 F. Supp. 2d at 671 (addressing

  Michigan and North Carolina law); In re Lidoderm Antitrust Litig.,

  103       F.   Supp.    3d   1155,     1176    (N.D.       Cal.        2015)    (“Lidoderm”)

  (addressing         Arizona,     District      of    Columbia,         Kansas,       and    North

  Carolina law); In re Auto. Parts Antitrust Litig., 29 F. Supp. 3d

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  982, 1028 (E.D. Mich. 2014) (Wisconsin); Suboxone, 64 F. Supp. 3d

  at 710 (Wisconsin).

        With respect to Rhode Island, Washington, and Wyoming, the

  Court similarly concludes that the laws of these states do not

  require a direct benefit be conferred in order for a party to plead

  a claim for unjust enrichment.        The cases cited by Defendants do

  not convince the Court otherwise.        See Defs.’ Mot. to Dismiss 174.

  In the Rhode Island cases cited by Defendants, the question was

  whether any benefit was conferred, not whether it was conferred

  indirectly.    See R & B Elec. Co., Inc. v. Amco Constr. Co., Inc.,

  471 A.2d 1351, 1356 (R.I. 1984) (Shea, J.) (holding that defendants

  were not liable under an unjust enrichment theory because they

  were unable to retain the benefit conferred and thus, they had not

  been unjustly enriched); Alessi v. Bowen Court Condo., No. 03-

  0235, 2010 WL 897246, at *4 (R.I. Super. Ct. Mar. 10, 2010)

  (concluding, that the defendant “did not hold a present interest

  in the property at the time of the [p]laintiff’s purchase” and

  therefore,    “a   benefit   arguably    was   not   conferred   upon   and

  appreciated by the [d]efendants individually”).            And thus, the

  Court joins other courts in concluding that the EPPs have a well

  pled claim for unjust enrichment under Rhode Island law.            See In

  re Auto. Parts Antitrust Litig., 50 F. Supp. 3d 869, 898 (E.D.

  Mich. 2014) (citing In re TFT–LCD (Flat Panel) Antitrust Litig.,



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  M 07–1827 SI, 2011 WL 4501223 (N.D. Cal. Sept. 28, 2011) (“TFT-

  LCD IV”) (addressing unjust enrichment under Rhode Island law)).

         The Court is further unconvinced that a direct benefit is

  required under Washington law.           In support of their argument,

  Defendants cite a single unpublished Washington Court of Appeals

  case that provides the alternate holding that recovery under an

  unjust enrichment theory was unavailable because the plaintiff

  there could enforce a promissory note and thus had a remedy at

  law.    Defs.’ Mot. to Dismiss 174 (citing Keil v. Scholten, 110

  Wash. App. 1035 (2002)).

         With respect to Wyoming law, Defendants similarly cite a

  single case, in which that court found a trucking company not

  liable for, among other things, unjust enrichment.             See Defs.’

  Mot. to Dismiss 175; see also Boyce v. Freeman, 39 P.3d 1062, 1065-

  66 (Wyo. 2002)).     In Boyce, the Supreme Court of Wyoming affirmed

  judgment for the defendant trucking company, noting that none of

  the elements of an unjust enrichment claim had been satisfied where

  the seller never received payment for the truck it conveyed to the

  trucking company’s employee.         Boyce, 39 P.3d at 1064-65.          In

  support of its argument that Wyoming law requires the direct

  conferral of a benefit to support an unjust enrichment claim,

  Defendants latch on to the court’s statement that the trucking

  company “received no direct benefit from this action, had no

  knowledge that [the seller] expected it to provide compensation

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  for the pickup truck, and engaged in no conduct inducing” the

  seller to supply the pickup to the employee.        Id. at 1066 (emphasis

  added).   But a closer look reveals that, in reality, “there was no

  true benefit     bestowed   on”   the   trucking   company,   id.   at   1065

  (emphasis added), and thus, the Court is not convinced that the

  Wyoming Supreme Court would not recognize a claim for unjust

  enrichment where a true, but indirect, benefit is bestowed on a

  defendant.

         Because these are Defendants’ best cases under Washington

  and Wyoming law, and the Court is not convinced they stand for the

  proposition Defendants posit, the Court declines to dismiss the

  EPPs’ unjust enrichment claims under the laws of Washington and

  Wyoming for failure to plead a conferral of a direct benefit.            See

  Solodyn I, 2015 WL 5458570, at *18 (noting that district courts

  have declined to dismiss unjust enrichment claims in certain states

  where the “states’ unjust enrichment laws do not necessarily

  require a plaintiff to plead a conferral of a direct benefit”).

        Under Maine, New York, and North Dakota law, however, a

  plaintiff must plead the conferral of a direct benefit in order to

  state a claim of unjust enrichment and, accordingly, the EPPs’

  unjust enrichment claims under these laws must be dismissed. See

  Solodyn I, 2015 WL 5458570, at *18 (citing Aftermarket Filters,

  2010 WL 1416259, at *3 (Maine); Lidoderm, 103 F. Supp. 3d at 1176,

  1179 (New York and North Dakota) (citing omitted).

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        For the reasons set forth above, the Court dismisses the EPPs’

  unjust     enrichment   claims    under     the    laws   of   Alabama,   Alaska,

  Colorado,     Connecticut,       Delaware,        Florida,     Georgia,   Idaho,

  Illinois, Kentucky, Louisiana, Maine, Maryland, Massachusetts,

  Missouri, Montana, New Jersey, New York, North Dakota, Oklahoma,

  Pennsylvania, South Carolina, Texas, Utah, and Virginia. The EPPs’

  claims for unjust enrichment under the laws of Arizona, Arkansas,

  California,     the   District    of   Columbia,      Hawaii,    Iowa,    Kansas,

  Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Hampshire,

  New Mexico, North Carolina, Oregon, Rhode Island, South Dakota,

  Tennessee,    Vermont,   Washington,        West   Virginia,     Wisconsin,   and

  Wyoming may proceed.

        B.     Daubert Motions

        Before taking up the EPPs’ Motion for Class Certification,

  the Court must address the parties’ challenges to the expert

  analysis underpinning their claims and defenses.                  In connection

  with their Motion for Class Certification, the EPPs move to exclude

  the opinions and testimony of Dr. James Hughes, Dr. Bruce Strombom,

  and Timothy Kosty.       In connection with their opposition to the

  Motion for Class Certification, Defendants have moved to exclude

  Dr. Gary French, Laura Craft, Myron Winkelman, and Eric Miller.

  The Court addresses the motions in seriatim.

        Rule 702 of the Federal Rules of Evidence sets forth the

  criteria a party must satisfy in order to proffer expert opinion.

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  Rule 702 provides:

        A witness who is qualified as an expert by knowledge,
        skill, experience, training, or education may testify in
        the form of an opinion or otherwise if:

        (a) the expert’s scientific, technical, or other
        specialized knowledge will help the trier of fact to
        understand the evidence or to determine a fact in issue;

        (b) the testimony is based on sufficient facts or data;

        (c) the testimony is the product of reliable principles
        and methods; and

        (d) the expert has reliably applied the principles and
        methods to the facts of the case.

  Fed. R. Evid. 702.

        The Court “serves as the gatekeeper for expert testimony by

  ‘ensuring that [it] . . . both rests on a reliable foundation and

  is relevant to the task at hand.’”        Milward v. Rust-Oleum Corp.,

  820 F.3d 469, 473 (1st Cir. 2016) (quoting Daubert v. Merrell Dow

  Pharms., 509 U.S. 579, 597 (1993)).       The proponent “has the burden

  of establishing both its reliability and its relevance.” Id.

  (citing Daubert, 509 U.S. at 593 n.10; Fed. R. Evid. 702, advisory

  committee’s note).      The First Circuit has advised that “Daubert

  neither requires nor empowers trial courts to determine which of

  several competing scientific theories has the best provenance.”

  Ruiz-Troche v. Pepsi Cola of Puerto Rico Bottling Co., 161 F.3d

  77, 85 (1st Cir. 1998).        Instead, “[i]t demands only that the

  proponent of the evidence show that the expert’s conclusion has



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  been arrived at in a scientifically sound and methodologically

  reliable fashion.”       Id.

              1.     Defendants’ Motion to Exclude the Opinions and
                     Testimony of Eric Miller, Laura Craft, and Myron
                     Winkelman (ECF No. 698) 24

        Defendants move to exclude three of the EPPs’ experts – Eric

  Miller, Laura Craft, and Myron Winkelman – who lay the foundation

  for the EPPs’ argument that they could successfully gather and

  compile pharmaceutical industry data to ascertain the members of

  the EPP class with enough certainty to satisfy the requirements

  set forth in Asacol.       Winkelman further opines on the relationship

  between TPPs and pharmacy benefit managers (“PBMs”) and any cost

  sharing they may or may not do.

                     a.    Laura Craft

        Laura Craft is the President of an economic and financial

  consulting       firm,   OnPoint   Analytics,   Inc.   (“OnPoint”),   that

  specializes in data analytics for complex litigation.         Declaration


        24To the extent the EPPs’ Motion to Exclude Kosty and
  Strombom, ECF No. 733, argues that those experts are not qualified
  to render their opinions, it is DENIED. See EPPs’ Mem. of Law in
  Supp. of Mot. to Exclude the Opinions and Test. of Kosty and
  Strombom 3, 15, ECF No. 736-1. The Motion is otherwise DENIED AS
  MOOT in light of the Court’s conclusion here. The Court carefully
  considered Kosty’s and Dr. Strombom’s opinions and testimony, but
  ultimately is persuaded by the EPPs’ experts, as set forth below,
  that the relevant data may be reliably obtained and compiled; the
  TPP class is ascertainable; and the EPPs have demonstrated by a
  preponderance of the evidence that each TPP in the TPP class was
  injured by the alleged conduct. If Defendants wish to offer these
  experts at trial for any other purpose, the EPPs may renew any
  specific, relevant objections at that time.
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  of Laura R. Craft (“Craft Decl.”) ¶ 2, ECF No. 633-4.                        For the

  past   fifteen     years,   OnPoint    has       focused    on   antitrust    and/or

  pharmaceutical class actions.          Id.       It specializes in developing

  large and complex relational databases using data from multiple

  sources.    Sur-Rebuttal Report of Laura Craft (“Craft Sur-Rebuttal

  Report”) ¶ 6, ECF No. 751-3.           Craft, as President, oversees data

  specification and acquisition, data interpretations, identifying

  and    defining    frameworks    for    statistical          analyses,    and    the

  development and quality assurance of all empirical results.                      Id.

  ¶ 5.   She has personally worked on more than fifty pharmaceutical

  engagements involving antitrust violations, unfair competition,

  and fraud on the market, among other things.                Id. ¶ 6.    In addition

  to her work at OnPoint, Craft co-authored a book entitled Empirical

  Challenges in Pharma Litigation in 2017 and has taught continuing

  legal education courses in this area.               Id. ¶ 7.

         The Court concludes that Craft is qualified to provide the

  opinions set forth in her Declaration and Sur-Rebuttal Report.

  She is highly experienced in pharmaceutical data management and

  compilation for complex litigation.               She has worked closely – and

  managed    those    working   closely        –    with     pharmaceutical     sales,

  marketing, and reimbursement data.                The Court thus is convinced

  that she is knowledgeable about the types of data available, their

  presentation       and   formatting,     and       their     use   in    analytical

  applications.

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        Craft describes the pharmaceutical industry as “one of the

  most heavily regulated, reported and tracked industries in the

  world”, largely due to the volume of point-of-sale data.             Craft

  Decl. ¶ 5.     She opines that the data required to identify class

  members is available and that OnPoint can identify all uninjured

  parties using class-wide data.       Id. ¶¶ 5-6.

        To identify class members and apply class exclusions, Craft

  proposes the following methodology.       OnPoint, under her direction,

  will:     collect data from multiple participants regarding the

  relevant transactions; convert the data into a single data type;

  resolve formatting errors; standardize field and variable names

  and values; join tables using shared data fields containing data

  unique to each transaction; link records; exclude transactions

  where   necessary;   analyze   transactions    using   common   code;   and

  report results in tables.       Craft Sur-Rebuttal Report ¶ 11.         The

  Court is satisfied that this methodology, while no doubt labor and

  time intensive, is not so different from the sort of aggregate

  data manipulation and analysis that businesses, researchers, and

  governmental agencies employ regularly.        See id. ¶¶ 12-13.

        Defendants move to exclude Craft’s opinion and testimony as

  speculative and unreliable.       Defs.’ Mem. of Law in Supp. of Mot.

  to Exclude the Opinions and Test. of EPPs’ Experts Eric Miller,

  Laura Craft, and Myron Winkelman (“Defs.’ Mot. to Exclude Miller,

  Craft, Winkelman”) 20-21, ECF No. 696-1.           While it is true that

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  Craft and OnPoint have never performed the exact task proposed

  here,      Craft’s    Declaration,       Sur-Rebuttal    Report,    and   Daubert

  hearing testimony have demonstrated that the EPPs, subpoenas in

  hand,      are   capable     of    securing,    compiling,   and   analyzing   the

  requisite data to identify class members and apply the class

  exclusions. 25       The Court denies Defendants’ Daubert motion as to

  Laura Craft, addressing Defendants’ additional arguments as they

  relate to the EPPs’ Motion for Class Certification below.

                       b.      Eric Miller

        Defendants also move to exclude the opinion and testimony of

  Eric Miller.         Miller is employed as the Senior Vice President of

  Case Management for A.B. Data, Ltd.               See Decl. of Eric J. Miller

  (“Miller Decl.”), ECF No. 633-5.                In that role, Miller oversees

  class action claim administration services.                  Id. ¶ 2.     He has

  worked in claims administration for over eighteen years and has

  worked on more than twenty-five indirect purchaser pharmaceutical

  class actions.         Id.        In support of the EPPs’ Motion for Class




        25The Court empathizes with Defendants’ grievance that,
  during discovery in this matter, the EPPs repeatedly asserted that
  they could not provide some of the transaction data they now say
  is readily available. EPP Hr’g Tr. vol. II, 153:1-160:25 (Feb.
  14, 2019), ECF No. 808. The Court concludes that that data were
  not missing or unavailable; instead, neither party was motivated
  to subpoena the PBMs and other entities involved until Asacol was
  decided.    The Court appreciates Defendants’ frustration but
  concludes it would be improper to deny class certification on this
  basis to secure retribution where the EPPs have otherwise met their
  burden.
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  Certification, Miller provides a declaration detailing four cases

  in which A.B. Data or Rust Consulting (Miller’s former employer)

  obtained records from pharmacies and PBMs to identify consumer

  class members.    Id. ¶¶ 10-20.     Miller offers his opinion that there

  is an administratively feasible method for identifying EPP class

  members and that there are data sources capable of identifying who

  purchased Loestrin 24, Minastrin, and their generic equivalents.

  Id. ¶ 4.

        Because the Court declines to certify an EPP class including

  consumers, it is unclear whether Miller’s opinion and testimony

  remains relevant or probative.          To the extent it is, the Court

  accordingly limits his opinion, and consideration thereof for

  purposes of deciding the EPPs’ Motion for Class Certification, to

  Miller’s opinion that it would be possible to compile the data of

  patients who purchased Loestrin 24, Minastrin, and their generic

  equivalents.     See id. ¶¶ 3, 4.    Miller does not purport to provide

  a method for excluding uninjured consumers or insurers.                  See

  generally id.; see also Defs.’ Motion to Exclude Miller, Craft,

  Winkelman 14.      To the extent Miller’s opinion that there is an

  administratively feasible way to identify class members does not

  account for the need to apply class exclusions, it is excluded.

  Accordingly,     Defendants’   motion     to   exclude   the   opinion   and

  testimony of Eric Miller is GRANTED in part and DENIED in part.



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                    c.     Myron Winkelman

        The EPPs also proffer the opinion of Myron D. Winkelman on

  PBM   data   systems    and    retention,    as   well    as   the   cost-sharing

  structure of the pharmaceutical industry.                 See generally Expert

  Report of Myron D. Winkelman (“Winkelman Report”), ECF No. 633-3.

  Winkelman is the President of Winkelman Management Consulting.

  Id. ¶ 1.     In this position, he provides consulting and management

  services with a focus on pharmacy benefit management.                   Id. ¶ 6.

  After    obtaining     his    bachelor’s    degree   in   pharmacy,     Winkelman

  managed, and later served as a senior executive at, various PBMs.

  Id. ¶ 4.     Winkelman’s curriculum vitae reflects an accomplished

  career in management and consulting for some of the biggest names

  in the pharmacy benefit management industry, and there can be no

  real question that he is qualified to provide expert opinion in

  that arena.     He opines that:        (1) the entities that purchased,

  paid for, and/or reimbursed for Loestrin 24, Minastrin, and their

  generic equivalents are identifiable; (2) how much those entities

  paid and whether they used coupons is ascertainable; and (3) “PBMs

  do not purchase, pay or reimburse TPPs for” Loestrin 24, Minastrin,

  and/or their generic equivalents.            Id. ¶ 10.

        Defendants move to exclude Winkelman’s opinion and testimony,

  primarily by disputing Winkelman’s take on how PBMs manage and

  retain data.    Defs.’ Mot. to Exclude Miller, Craft, Winkelman 21-

  27.     These arguments are addressed below, in connection with the

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  EPPs’ Motion for Class Certification.          The Court concludes that

  Winkelman’s testimony is reliable, as Winkelman has extensive

  industry experience and knowledge related to the actual workings

  of the PBM industry.

        Defendants further take issue with Winkelman’s opinion that

  PBMs do not pay any portion of the cost of the drugs at issue in

  this case.       Id. at 27.     While Winkelman states that some PBMs

  contract with TPPs to provide rebate guarantees and spread pricing,

  for the reasons set forth below, see infra Part II.F.1.b., the

  Court is persuaded that this arrangement does not constitute

  payment for the drug.      See In re Nexium (Esomeprazole) Antitrust

  Litig., 297 F.R.D. 168, 179 (D. Mass. 2013) (“Nexium II”), aff’d

  In re Nexium Antitrust Litig., 777 F.3d 9 (1st Cir. 2015) (“Nexium

  III”) (finding that PBMs are “‘mere conduits’ for TPP payments to

  pharmacies, and as financial intermediaries, are not a part of the

  putative class”) (internal citation omitted).

        To summarize, for the reasons set forth above and below, the

  Court   DENIES    Defendants’   Motion   to   Exclude   the   Opinions   and

  Testimony of Miller, Craft, Winkelman as to Craft and Winkelman,

  and GRANTS IN PART AND DENIES IN PART as to Miller.

              2.    Defendants’ Motion to Exclude Opinion and Testimony
                    of Gary French, Ph.D. (ECF No. 575) and the EPPs’
                    Motion to Exclude the Testimony and Opinions of
                    James W. Hughes Ph.D. (ECF No. 634)

        Defendants move to exclude the opinions and testimony of Dr.


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  Gary French. 26   See generally Defs.’ Mot. to Exclude Opinion and

  Testimony of Gary French, Ph.D., ECF No. 575.        They argue that (1)

  Dr.    French’s   opinion   regarding     injury-in-fact    is   based   on

  unsupported assumptions; (2) his analysis fails to identify and

  exclude uninjured class members; and (3) his damages calculations

  are speculative and unreliable.         Defs.’ Mem. in Supp. of Mot. to

  Exclude Opinion and Test. of EPPs’ Expert Gary L. French (“Defs.’

  Mot. to Exclude French”) 4-21, ECF No. 573.

         The EPPs similarly move to exclude the testimony and opinions

  of Defendants’ rebuttal expert, Dr. James W. Hughes, see ECF No.

  634.    Both motions are addressed below, but because the EPPs have

  the burden on their Motion for Class Certification, the Court

  focuses on Dr. French’s ability to satisfy that burden, noting

  rulings on the Daubert motion to exclude Dr. Hughes’s opinions as

  they arise.

         The fight here largely boils down to two economists who

  employ, on the whole, reliable and sound methodology but part ways

  on which inputs and benchmarks to use in their respective models.


         26
          Dr. French has been employed as an economist and Senior
  Advisor with an economic and financial consulting firm, Nathan
  Associates Inc. Expert Report of Gary L. French, Ph.D., Regarding
  Impact and Damages to EPPs ¶ 1 (“French Report”), ECF No. 528-6.
  He holds a bachelor’s degree in business administration, as well
  as a master’s degree and doctorate in economics, all from the
  University of Houston. Id. ¶ 2. He has rendered opinions in other
  pharmaceutical antitrust cases.   Id. ¶ 4.   The Court gleans no
  objection to his qualifications to render his opinion in this
  matter.
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  In the end, they agree on one thing: there is no perfect benchmark.

  And because the Court agrees and, with few exceptions, finds both

  experts’ analyses defensible, a jury will need to weigh each

  expert’s opinion and make a decision.

                     a.    Dr. French’s Opinions and Testimony

         In his expert report, Dr. French concludes that there is

  common      evidence    demonstrating    common        impact    of    Defendants’

  anticompetitive conduct on Class members.                 To that end, he sets

  forth a “feasible and reliable methodology” to determine injury

  and to estimate damages on an aggregate basis to all members of

  the Class using common evidence.             See generally Section II & III,

  Expert Report of Gary L. French, Ph.D., Regarding Impact and

  Damages     to   EPPs (“French   Report”),       ECF     No.   528-6. 27    Due   to

  Defendants’ alleged anticompetitive conduct, Dr. French opines,

  putative class members were unable to substitute lower-priced

  generic Loestrin 24 and/or Minastrin for the higher-priced brand

  Loestrin 24 and Minastrin.       French Report ¶¶ 28-29.              Class members

  were     further   injured    because        sustained    and    robust    generic

  competition would have driven down the price of generic Loestrin

  24 and Minastrin.       Id. ¶ 30.


         27
          See also Reply Report of Gary L. French, Ph.D., Regarding
  Impact and Damages to EPPs (“French Reply Report”), ECF No. 633-
  17; Sur-Reply Report of Gary L. French, Ph.D. Regarding Impact and
  Damages to EPPs (“French Sur-Reply Report”), ECF No. 751-1;
  Supplemental Declaration of Gary L. French, Ph.D. (“French Supp.
  Decl.”), ECF No. 786-2.
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        Dr. French uses common proof to demonstrate that all class

  members     were    injured     by   Defendants’   alleged     anticompetitive

  conduct.      First, he relies upon government and academic studies

  regarding the effects of generic entry, 28 and second, he uses common

  empirical evidence to prove common impact by performing an economic

  analysis     of    the   prices   and   market   share   of   Loestrin   24   and

  Minastrin after their generic equivalents entered the market.                 Id.

  ¶¶ 32, 59.        Using IQVIA 29 data, Dr. French concludes that “if the

  entry of generic Loestrin 24 had occurred earlier, we would have

  observed a rapid substitution from branded Loestrin 24 to generic

  Loestrin 24.”       Id. ¶ 58.     This would have resulted in a shift from

  purchases of brand Loestrin 24 to generic Loestrin 24, as well as

  a “significant price discount” on the price of brand Loestrin 24.

  Id.    Purchasers of brand Minastrin were also injured in that


        28   Dr. French summarizes the findings of these studies as:

        (i) once a generic version of a branded drug enters the
        market, the generic version is sold at a significantly
        lower price than the branded drug; (ii) if an authorized
        generic version also enters at the same time when the
        generic version enters, the price gap between the
        branded drug and the generic versions widens; and, (iii)
        the generic versions’ market share increases over time
        eventually taking most sales of the molecule away from
        the branded product.

  French Report ¶ 33.

        29
         IQVIA is a data vendor for pharmaceutical products, and its
  data is “considered the industry standard source of pharmaceutical
  data used by researchers and academics.”      French Reply Report
  ¶ 23.
                                           58
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  sustained and robust generic Loestrin 24 competition would have

  resulted in those purchases largely shifting to less costly generic

  Loestrin 24 absent a product hop.            Id.

         Dr. French calculates class-wide damages using common proof.

  To do so, he uses two generally accepted methods – both of which

  have been endorsed by the First Circuit – the “before-during-

  after” method and the “yardstick” method.             French Report ¶ 60; see

  also Coastal Fuels of Puerto Rico, Inc. v. Caribbean Petroleum

  Corp., 175 F.3d 18, 24 n.3 (1st Cir. 1999) (noting that the “before

  and after” method and the “yardstick method” are “two accepted

  methods of economic analysis”).              Using the before-during-after

  method, Dr. French establishes a suitable benchmark by identifying

  a period of time during which Defendants’ alleged anticompetitive

  conduct was absent from the market.                Comparing supracompetitive

  prices      charged   when   the   alleged    anticompetitive    conduct     was

  present with competitive prices charged before or after this period

  allows Dr. French to calculate the percentage overcharge flowing

  from the anticompetitive conduct.            French Report ¶ 60.

         In contrast, the yardstick method looks to either another

  geographic market with competitive sales of the product or another,

  comparable product in the same geographic market to estimate

  damages.      The difference between the “yardstick” and the product

  sold   at    supracompetitive      prices    provides   an   estimate   of   the

  overcharge flowing from the anticompetitive conduct.              Id.

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        Dr. French identifies the prices in the actual world following

  generic Minastrin entry as a competitive benchmark. 30             Id. ¶ 61.

  He then uses a “during and after” approach to estimate overcharges

  using the competitive benchmark.           Id.   As Dr. French explains it,

  the conversion ratio of brand Loestrin 24 to generic Loestrin 24

  is not a useful benchmark – due to the product hop, there were

  very few brand Loestrin 24 prescriptions filled once generic entry

  occurred.     Id. ¶ 68.   Instead, Dr. French reasons that “the market

  experience when generic Minastrin entry occurred is an appropriate

  benchmark for what would have happened in the Loestrin 24 market”

  in a but-for world.       Id. ¶ 70.      While he examines the Minastrin

  generic     entry   experience,    Dr.     French   acknowledges    that   no

  benchmark perfectly reflects the but-for world and concludes that,

  because the competition was less intense, the Minastrin benchmark

  probably results in understated damages calculations.              Id. ¶¶ 73-

  74.

        Dr. French uses IQVIA NPA and Insights 31 data to calculate

  overcharge     damages,   using   common    evidence,   by   estimating    the


        30In his opening report, Dr. French employed both the Loestrin
  24 and the Minastrin experiences as competitive benchmarks. French
  Report ¶ 68, 71. In refining his analysis and responding to Dr.
  Hughes’s reports, Dr. French has abandoned the Loestrin experience
  and uses only Minastrin as a competitive benchmark. French Reply
  Report ¶ 60 (“I am no longer using the Loestrin 24 experience to
  calculate but-for prices . . .”); id. ¶ 22 (“I am updating my
  analysis to employ only the Minastrin experience benchmark”).

        31   According to Dr. French, the IQVIA National Prescription
                                        60
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  retail sales volumes and prices for the branded products as well

  as their generic equivalents. 32 Id. ¶ 61. Specifically, Dr. French

  applies the market shares of brand and generic Minastrin to the

  actual retail sales volume of Loestrin 24, shifted back in time,

  to estimate the total but-for retail sales volumes.             Id. ¶ 75.

  Dr. French further calculates the but-for unit prices using the

  Minastrin experience, id. ¶ 76, and uses these values to calculate

  the damages for brand and generic Loestrin 24 sales and brand and

  generic    Minastrin   sales    using    the   Minastrin   generic   entry

  experience.    Id. ¶¶ 78-88.

        For the TPP class, 33 Dr. French calculates overcharge damages

  as the difference between actual TPP payments for brand Loestrin

  24 and the but-for TPP payments for generic Loestrin 24.             Reply

  Report of Gary L. French, Ph.D., Regarding Impact and Damages to

  End-Payor Plaintiffs (“French Reply Report”) ¶ 49, ECF No. 633-

  17.   In performing this calculation, Dr. French nets out consumer



  Audit (NPA) dataset “contains both dollar and physical volume sales
  on a weekly or monthly basis for” both brand and generic
  prescription drugs. EPP Hr’g Tr. vol. I, 80:2-12. The “Insights”
  dataset provides the number of prescriptions by type of payor,
  viz., cash payors, government payors, and third-party payors. Id.

        32Dr. French considers updated information – including
  updated IQIVIA data and data sets produced by Dr. Hughes – in his
  Reply Report. See, e.g., French Reply Report ¶¶ 8, 23-26.

        33
         As discussed further below, the Court declines to certify
  an EPP class that includes consumers.    The Court, as a result,
  does not address Dr. French’s methodology and analysis – and
  Defendants’ challenges – pertinent to consumers only.
                                      61
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  sales paid in cash and those not covered by a TPP.                   Id. ¶ 50.    He

  further nets out rebates paid to TPPs.                Id.   Dr. French makes no

  adjustments for coupons, as those only affect consumers.                   Id.    To

  calculate the TPPs’ payment share, he uses the Optum Health claims

  data    for    another      oral   contraceptive,     Yasmin,   to    establish    a

  reliable benchmark.           Id. ¶ 51.    He multiples generic Yasmin’s TPP

  payment share by the total dollars TPPs would have paid but-for

  generic Loestrin 24.            Id.     This yields the amount that the TPPs

  would have paid for but-for generic Loestrin 24.                Id.     He applies

  a   similar     methodology        to   calculate   the   overcharges    the     TPPs

  allegedly paid on branded Minastrin.                Id. ¶ 53.

                         b.     Dr. French’s Methodology

         Defendants argue that, rather than examine data available in

  the actual world, Dr. French relies on academic studies, aggregated

  retail prices, and forecasts.              Defs.’ Mot. to Exclude French 5.

  The Court concludes that Dr. French’s methodology – namely, his

  reliance on academic studies, the actual Minastrin experience with

  generic       entry,    and    manufacturer     forecasts   –   is    sufficiently

  reliable. 34     In pharmaceutical antitrust actions, courts have long




         34
          Dr. French’s analysis of the Minastrin experience is
  consistent with the literature on generic entry: “The price
  discounts on generic Minastrin in relation to the price of branded
  Minastrin, which has continually grown as generic competition
  intensified, and the resulting rapid substitution of lower priced
  generic Minastrin for higher priced branded Minastrin is
  consistent with the literature’s description of branded drugs
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  accepted opinions based on exactly the sources from which Dr.

  French models his opinions:           academic studies, aggregated retail

  prices, and forecasts. In re Pharm. Indus. Average Wholesale Price

  Litig., 582 F.3d 156, 197 (1st Cir. 2009) (endorsing the use of

  aggregate damages calculations in class actions); In re Namenda

  Direct   Purchaser       Antitrust    Litig.,      331    F.   Supp.   3d   152,   182

  (S.D.N.Y 2018) (“The use of Defendants’ own forecasts to model a

  but-for world has been held to be a sound economic methodology.”);

  In re Solodyn (Minocycline Hydrochloride) Antitrust Litig., No. CV

  14-MD-02503, 2017 WL 4621777, at *8 (D. Mass. Oct. 16, 2017)

  (“Solodyn II”) (finding expert methodology reliable where based in

  part on forecasts).

          Defendants take further issue with many of the assumptions

  underlying Dr. French’s analysis.                But these go to the weight of

  the evidence, not its admissibility.                 This Court cannot make a

  factual determination on how many generics would have entered and

  when,    or   whether    consumers     preferred      chewable     Minastrin       over

  generic Loestrin 24.          See, e.g., Defs.’ Mot. to Exclude French 14-

  15 (arguing that Dr. French’s analysis improperly assumes that

  Minastrin users would have preferred it to generic Loestrin 24 in

  a but-for world); Renumbered Expert Report of James W. Hughes

  (“Hughes      Report”)    ¶   186,   ECF   No.    606-1    (opining     that   Warner



  facing generic competition for the first time.”                        French Report
  ¶ 57.
                                             63
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  Chilcott would not have promoted Loestrin 24 to the same extent in

  a but-for world). 35       These issues go to the heart of this case and

  are ripe for jury consideration.

        Defendants next argue that Dr. French’s approach is flawed

  because he uses the Minastrin experience benchmark from its generic

  entry      in   2017,    which   post-dates   the    Patient    Protection    and

  Affordable Care Act’s (“ACA”) free contraceptive mandate, which

  began      in   August   2012. 36   Defs.’    Mot.   to   Exclude    French   14.

  Defendants say that the Yasmin generic entry in 2008 would be more

  instructive of the 2009 market conditions.             Id.     On the flip side,

  the EPPs take issue with Dr. Hughes’s use of the Yasmin experience

  as the benchmark for calculating the generic penetration rate in




        35To the extent Dr. Hughes opines that depressed promotion
  efforts would have resulted in the EPPs purchasing a lower volume
  of Loestrin 24, resulting in lower damages to the EPP class, it is
  excluded.    Compare Hughes Report ¶ 186 with French Reply ¶¶ 82-
  83. An antitrust plaintiff is entitled to damages on the actual
  volume purchased. Hanover Shoe, Inc. v. United Shoe Mach. Corp.,
  392 U.S. 481, 487-94 (1968).

        36ACA, signed into law on March 23, 2010, requires group
  health plan and issuers to provide preventive care coverage to
  women, without cost sharing, as defined in guidelines promulgated
  by the Health Resources and Services Administration (“HRSA”).
  HRSA, Women’s Preventive Services Guidelines, available at
  https://www.hrsa.gov/womens-guidelines/index.html (last visited
  Oct. 16, 2019). In August 2011, HRSA issued binding guidelines
  requiring health plans and insurers to cover “[a]ll Food and Drug
  Administration approved contraceptive methods”, at no cost to the
  patient. Id. These guidelines went into effect in the first plan
  year beginning on or after August 1, 2012, for plans or policies
  created or sold after March 23, 2010, or older plans or policies
  that made certain changes since that date. Id.
                                          64
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  the but-for world.       EPPs’ Combined Mem. of Law in Supp. of Their

  Mot. to Exclude the Testimony and Opinions of James W. Hughes,

  Ph.D. 19, ECF No. 632-2; EPP Hr’g Tr. vol. I, 91:21-92:25 (Feb.

  13, 2019), ECF No. 807.         Both benchmarks have their weaknesses.

  Yasmin had a different generic entry pattern that makes it an

  imperfect analogue, but it also experienced generic entry pre-ACA

  and was priced similarly to Loestrin 24.               Minastrin, on the other

  hand, had a generic entry pattern similar to the EPPs’ Loestrin 24

  generic    entry   theory,     but   entered    post-ACA,         when    purchasing

  behavior may have been different. Sur-Reply Expert Report of James

  W.   Hughes   (“Hughes     Sur-Reply   Report”)        ¶¶   10,    59-67.       These

  perceived     weaknesses    merely   highlight      the     differences       between

  “competing scientific theories.”             Ruiz-Troche, 161 F.3d at 85.

  This all goes to the weight, not the admissibility of the dueling

  experts’    testimony    and   opinions,      and   counsel       may    test   these

  theories on cross-examination before the jury.

                     c.    Rebates, Coupons, and Free Samples

        Defendants    argue    that    Dr.    French’s    reliance         on   national

  averages and his failure to fully appreciate cost-sharing between

  consumers and TPPs render his analysis unsound.                    Defs.’ Mot. to

  Exclude French 8-10. They say that Dr. French’s failure to account

  for Warner Chilcott’s “price concessions” 37 leads to understated


        37
         While Defendants maintain that their rebates, coupons, and
  free samples amount to “price concessions”, they can also be
                                         65
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  generic prices and overstated brand prices.        Id. at 10.    Dr. Hughes

  opines that once rebates, coupons, and free samples are accounted

  for, and once the but-for price is calculated using the correct

  benchmark, but-for prices are higher than actual Loestrin 24 prices

  from October 2009 to at least June 2010.         See Hughes Report ¶ 126,

  Exs. 8.C & 9.

        Each expert has a reasoned approach to applying rebates to

  the pricing data. 38    In calculating the price of the relevant drugs

  net rebates, Drs. French and Hughes apply different methodologies,

  which yield different conclusions.         Dr. French applies the rebates

  reported in one month to the units dispensed in the previous three

  months,    whereas     Dr.   Hughes    applies   the   rebates    reported

  contemporaneously to the month in which they are reported (i.e.,

  netting out monthly rebates from monthly retail dollar sales and

  dividing by units dispensed to reach the average rebate per unit).



  understood as marketing tools. See, e.g., Hughes Dep. 47:2-7, ECF
  No. 632-5 (“Q. Warner Chilcott distributed free samples as a
  marketing tool, correct? A. That’s certainly my presumption, yes.
  I mean, just from knowledge of the pharmaceutical industry that
  free sampling is a common method of marketing pharmaceutical
  products.”).

        38In Nexium III, the First Circuit held that rebates paid
  from a drug manufacturer to PBMs only affect injury-in-fact to the
  TPPs where the rebates are “passed-through” to the TPPs as a
  “discounted price when the PBMs bill the TPPs”. 777 F.3d at 28
  n.23. If the TPPs are instead charged the list price and later
  “refunded a portion based on the rebate amount”, these rebates may
  be used to offset any damages award but do not “affect the fact of
  injury.” Id. To the extent Dr. Hughes’ testimony and opinion are
  inconsistent with this holding, it is excluded.
                                        66
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  French Reply Report ¶ 36.       The Court is confident that both Drs.

  French’s and Hughes’s methodologies are reliable and sound.              To

  the   extent   the   parties   discern   weaknesses   to   their   opposing

  experts’ methodologies, it is fodder for cross-examination.

        Defendants also argue that Dr. French fails to exclude payors

  who benefitted from Warner Chilcott’s coupons.             Defs.’ Mot. to

  Exclude French 12.     Because the coupons benefitted consumers only,

  the Court need not address Defendants’ argument on this score.

  See id. at 15 (explaining that consumers benefit from coupons);

  see also EPP Hr’g Tr. vol. I, 169:8-21 (testimony of Dr. Hughes,

  explaining that, after receiving feedback from Dr. French, he

  included value of coupons in his pharmacy prices).

        The parties hotly contest the treatment of free samples.           As

  the Court understands it, Warner Chilcott gave doctors free samples

  to distribute to their patients.         What doctors and patients did

  with these free samples is unknown.         There is no data informing

  whether a doctor actually distributed the free samples to patients

  (or otherwise stuck them in a drawer); whether a patient took the

  samples she received; whether a patient tried the sample but never

  filled a prescription afterward; or whether a patient filled and

  paid for Loestrin 24 prescriptions after enjoying a free sample.

  A patient’s free sample use has no corresponding data point in the

  pharmaceutical sales data.       EPP Hr’g Tr. vol. II, 49:6-12 (Feb.

  14, 2019), ECF No. 808.        What we do know is that “[p]aying an

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  overcharge caused by the alleged anticompetitive conduct on a

  single purchase suffices to show – as a legal and factual matter

  – impact or fact of damage.”         Nexium III, 777 F.3d at 27.          And

  this “antitrust injury occurs the moment the purchaser incurs an

  overcharge, whether or not that injury is later offset” by “savings

  attributable to the same or related transaction.”               Id. (citing

  Adams v. Mills, 286 U.S. 397, 407 (1932); Hawaii v. Standard Oil

  Co. of Cal., 405 U.S. 251, 262 n.14 (1972)).          Thus, the benefit a

  patient may have enjoyed from a free sample at one point in time

  cannot be used to offset the injury that she or her TPP suffered

  at some other point in time.         See French Reply Report ¶¶ 57-59;

  see also id. ¶ 11 (“free samples are not prescribed [to] or

  purchased by Class members, and are not Class transactions”).             To

  the extent Dr. Hughes’s opinions and testimony are to the contrary,

  they are excluded.

                   d.    Potentially        Uninjured   TPPs      and     Class
                         Exclusions

        PBM Cost-Sharing.      Defendants move to exclude Dr. French’s

  opinion and testimony on the basis that he fails to consider the

  variety   of   ways   insurers   share    prescription   drug   costs   with

  patients, retail pharmacies, and PBMs, and how this varies across

  plans, time, and drugs.      Defs.’ Mot. to Exclude French 17.           This

  argument is intertwined with Defendants’ argument that the TPP

  class should not be certified because PBMs absorb some of the TPPs’


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  purported antitrust injury, see Defs.’ Sur-Reply in Opp’n to EPPs’

  Mot. for Class Certification (“Defs.’ Sur-Reply”) 2, ECF No. 697-

  1, and the Court addresses this below, see infra Part II.F.1.b.

        Uninjured TPPs.             Defendants argue that, under Asacol, Dr.

  French’s injury-in-fact analysis cannot stand, as it subsumes

  uninjured class members into the proposed class.                    Defs.’ Mot. to

  Exclude   French      3.     In     light   of    the    Court’s   holding,    below,

  declining to certify a class of consumers, insofar as Defendants

  move to exclude Dr. French’s opinions regarding consumers, those

  arguments are moot.               With respect to the TPPs, the Court is

  satisfied,    for     the    reasons    set      forth    below,   see    infra   Part

  II.C.6.a.ii, that Dr. French’s methodology and analysis reliably

  demonstrate by a preponderance of the evidence that all TPPs were

  likely injured and that there are no brand-loyal TPPs.                     Cf. Nexium

  III, 777 F.3d at 28-29 (addressing similar arguments and concluding

  that the EPPs had demonstrated that the subgroups of TPPs were

  injured).

        Class Exclusions.            Defendants make a handful of arguments

  related to the EPPs’ ability to identify and remove their stated

  class exclusions.           Defs.’ Mot. to Exclude French 11; see also

  Defs.’ Sur-Reply 24.         The Court is satisfied that, for the reasons

  set   forth    below,       Dr.    French’s      and     Craft’s   methodology    for

  identifying     and     removing      fully-insured        TPPs    is    sufficiently

  reliable.     See infra Part II.C.5.b (detailing Craft’s methodology

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  for excluding fully-insured TPPs).       With respect to excluding non-

  class governmental purchases, the Court is also satisfied with the

  proffered methodology.     See French Reply Report ¶¶ 27-31; see also

  Craft Decl. ¶ 18.

          Exclusion of PBMs from the EPP Class.      Defendants argue that

  it is impermissible for Dr. French to ignore PBMs in his analysis

  – and by extension the EPPs to exclude them from their class –

  because PBMs fall within the category of entities that indirectly

  purchased, paid for, and/or provided reimbursement for some or all

  the purchase price of the drugs.         Defs.’ Mot. to Exclude French

  18-19 (citing EPPs’ Mot. for Class Certification 12).              But the

  EPPs have expressly excluded PBMs from their class, and Defendants

  point to no authority suggesting this was impermissible on their

  part.     See EPPs’ Reply Mem. of Law in Further Support of Their

  Mot. for Class Certification and Appointment Of Class Counsel

  (“EPPs’ Reply”) 6, ECF No. 636.           Indeed, other pharmaceutical

  antitrust classes excluding PBMs from their EPP class definitions

  have been certified in this Circuit.         See, e.g., Nexium III, 777

  F.3d at 17, 28 nn. 13, 23 (noting that PBMs were initially part of

  the class definition but were then excluded).

                    e.   Dr. French’s Damages Model and Related Damages
                         Calculations

          Finally, Defendants take issue with Dr. French’s damages

  methodology and analysis. Defs.’ Mot. to Exclude French 4-5. They


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  argue that he fails to offset his damages calculation by Warner

  Chilcott’s so-called price concessions; his damages calculations

  do not properly account for the implementation of the ACA’s free

  contraceptive mandate and understate brand loyalists; and he fails

  to isolate damages caused by the various categories of alleged

  unlawful conduct, thus rendering it impossible for a jury to

  calculate damages if some but not all of the EPPs’ theories of

  harm proceed.       Defs.’ Mot. to Exclude French 4-21, 24.

        As with Defendants’ other arguments, and as discussed in

  relation to the injury-in-fact analysis, these arguments go to the

  weight,    not   the   admissibility,    of   Dr.   French’s   opinion   and

  testimony.       The Court is confident that a jury would be well-

  equipped, with Dr. French’s opinions and testimony in hand, to

  determine the proper damages if it finds persuasive some but not

  all of EPPs’ theories of harm.

        For these reasons, the Court DENIES Defendants’ Motion to

  Exclude the Opinions and Testimony of Dr. French, ECF No. 575, and

  GRANTS IN PART AND DENIES IN PART the EPPs’ Motion to Exclude the

  Opinions and Testimony of Dr. Hughes, ECF No. 634.

        C.    The EPPs’ Motion for Class Certification

        To certify a class, the Court “must undertake a ‘rigorous

  analysis’” to determine whether the putative class satisfies each

  of the four prerequisites set forth in Rule 23(a) of the Federal

  Rules of Civil Procedure:        numerosity, commonality, typicality,

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  and adequacy of representation.           Nexium III, 777 F.3d at 18

  (quoting Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013); Wal–

  Mart Stores, Inc. v. Dukes, 564 U.S. 338, 351 (2011); Gen. Tel.

  Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982)).         In addition, the

  putative class must also demonstrate that it satisfies one of the

  requirements set forth in Rule 23(b), Nexium III, 777 F.3d at 18;

  in this case, the putative classes argue that “the questions of

  law or fact common to class members predominate over any questions

  affecting only individual members, and that a class action is

  superior to other available methods for fairly and efficiently

  adjudicating the controversy.”       Rule 23(b)(3); see also EPPs’ Mot.

  for Class Certification.       To meet this requirement, the putative

  class must demonstrate “that ‘the fact of antitrust impact can[]

  be established through common proof’ and that ‘any resulting

  damages    would   likewise   be   established   by   sufficiently   common

  proof.’”    Nexium III, 777 F.3d at 18 (quoting In re New Motor

  Vehicles Canadian Export Antitrust Litig., 522 F.3d 6, 20 (1st

  Cir. 2008) (“New Motor II”)).

        The Supreme Court has explained that “Rule 23 does not set

  forth a mere pleading standard” but rather, a plaintiff “must

  affirmatively demonstrate [its] compliance with the Rule.”           Dukes,

  564 U.S. at 350.        To do so, a plaintiff has the burden to

  demonstrate by a preponderance of the evidence that Rule 23’s

  prerequisites to class certification are satisfied.           Nexium III,

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  777 F.3d at 27.    “Merits questions may be considered to the extent

  – but only to the extent – that they are relevant to determining

  whether the Rule 23 prerequisites for class certification are

  satisfied.”    Amgen Inc. v. Conn. Retirement Plans and Trust Funds,

  133 S. Ct. 1184, 1195 (2013); see also Comcast, 569 U.S. at 35

  (stating that a court must determine whether the plaintiff’s burden

  is satisfied under Rule 23 “even when that requires inquiry into

  the merits of the claim”).

        The EPPs moved for class certification in July 2018.            After

  the EPPs filed their opening brief in support of their Motion for

  Class Certification, but before Defendants filed their Opposition,

  the First Circuit Court of Appeals issued its Opinion in Asacol.

  That decision has significant ramifications for the EPPs’ Motion

  for Class Certification, and accordingly, the Court provisionally

  denied   Defendants’   Motion   to   Strike   (1)   the   EPPs’   Three   New

  Rebuttal Experts, (2) Portions of the Rebuttal Expert Report of

  Gary L. French, and (3) Portions of       the EPPs’ Reply in Support of

  the Motion for Class Certification.       See Order, Dec. 28, 2018, ECF

  No. 686 (provisionally denying ECF No. 637).         The Court reaffirms

  that ruling and considers all the briefing and expert opinions

  presented on class certification, unless otherwise limited by its

  rulings on Daubert Motions.

        In their Reply brief, and in response to Asacol, the EPPs

  amend their proposed class and offer a second, alternate class.

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  First, the EPPs propose the following amended class definition:

        All persons or entities in the United States and its
        territories who indirectly purchased, paid and/or
        provided reimbursement for some or all of the purchase
        price for Loestrin 24 Fe and/or its AB-rated generic
        equivalents in any form, and/or Minastrin 24 Fe and/or
        its AB-rated generic equivalents in any form, for
        consumption by themselves, their families, or their
        members,   employees,    insureds,   participants,    or
        beneficiaries (the “Class” or the “End-Payor Class”),
        other than for resale, during the period September 1,
        2009 through and until the anticompetitive effects of
        Defendants’ unlawful conduct cease (the “Class Period”).
        For purposes of the Class definition, persons or
        entities “purchased” Loestrin 24 Fe, Minastrin 24 Fe, or
        their generic equivalents if they indirectly purchased,
        paid and/or reimbursed for some or all of the purchase
        price (the “End-Payor Class”).

  EPPs’ Reply 4. Expressly excluded from this proposed class are
  the following persons and entities:

        a. Defendants and their officers, directors, management,
        employees, subsidiaries, or affiliates;
        b. All federal or state governmental entities, excluding
        cities, towns or municipalities with self-funded
        prescription drug plans;
        c. All persons or entities who purchased Loestrin 24 Fe
        or its AB-rated generic equivalent, and/or Minastrin 24
        Fe or its AB-rated generic equivalent, for purposes of
        resale or directly from Defendants or their affiliates;
        d. Fully insured health plans (i.e., Plans that
        purchased insurance from another third party payor
        covering 100% of the Plan’s reimbursement obligations to
        its members);
        e. Any “flat co-pay” consumers (i.e., consumers who paid
        the same co-payments amount for brand and generic
        drugs);
        f. Any “brand loyalist” consumers who purchased
        Minastrin 24 after an AB-rated generic equivalent of
        Minastrin 24 became available and who did not purchase
        any such AB-rated generic equivalent;
        g. Pharmacy Benefit Managers; and
        h. The judges in this case and any members of their
        immediate families.


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  Id. at 4-5.

        If the Court declines to certify the End-Payor Class as

  defined in this amended class definition, the EPPs propose an

  alternate class they refer to as the “TPP Class”:

        All Third-Party Payor entities (“TPPs”) in the United
        States and its territories who indirectly purchased,
        paid and/or provided reimbursement for some or all of
        the purchase price for Loestrin 24 Fe and/or its AB-
        rated generic equivalents in any form, and/or Minastrin
        24 Fe and/or its AB-rated generic equivalents in any
        form, for consumption by their members, employees,
        insureds, participants, or beneficiaries (the “Third
        Party Payor Class”), other than for resale, during the
        period September 1, 2009 through and until the
        anticompetitive effects of Defendants’ unlawful conduct
        cease (the “Class Period”). For purposes of the Class
        definition, entities “purchased” Loestrin 24 Fe,
        Minastrin 24 Fe, or their generic equivalents if they
        indirectly purchased, paid and/or reimbursed for some or
        all of the purchase price (the “TPP Class”).

  Id. at 6. Expressly excluded from the TPP Class are the following
  people and entities:

        a. Defendants and their subsidiaries, or affiliates;
        b. All federal or state governmental entities, excluding
        cities, towns or municipalities with self-funded
        prescription drug plans;
        c. All entities who purchased Loestrin 24 Fe or its AB-
        rated generic equivalent, and/or Minastrin 24 Fe or its
        AB-rated generic equivalent, for purposes of resale or
        directly from Defendants or their affiliates;
        d. Fully insured health plans (i.e., Plans that
        purchased insurance from another third-party payor
        covering 100% of the Plan’s reimbursement obligations to
        its members); and
        e. Pharmacy Benefit Managers.

  Id.

        Defendants oppose the EPPs’ Motion for Class Certification.

  They contend that the proposed EPP Class is unascertainable and

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  that the EPPs have failed to demonstrate by a preponderance of the

  evidence that the proposed class satisfies the Rule 23 typicality

  and adequacy requirements.         Defs.’ Sur-Reply 1-2.       Defendants

  further argue that the EPPs’ damages theory is inconsistent with

  their liability theory, and a class action is not a superior method

  by which to resolve the EPPs’ claims.        Id. at 3.

               1.   Numerosity 39

        Rule 23(a)(1) requires that members of a class be “so numerous

  that joinder of all members is impracticable.”           Fed. R. Civ. P.

  23(a)(1).      Generally, “if the named plaintiff demonstrates that

  the potential number of plaintiffs exceeds 40, the first prong of

  Rule 23(a) has been met.”         García-Rubiera v. Calderón, 570 F.3d

  443, 460 (1st Cir. 2009) (quoting Stewart v. Abraham, 275 F.3d

  220, 226-27 (3d Cir. 2001)).          With respect to the TPP Class,

  Plaintiffs proffer that at least 40 TPPs are class members, in

  light of the fact that there were approximately 24,534 employer-

  sponsored health plans in the United States in 2012.            See EPPs’

  Reply 10 (citing Craft Decl. ¶ 28).          Defendants do not dispute

  this.      See generally Defs.’ Sur-Reply.     The Court concludes that

  the TPP class is too numerous to render joinder practical, and

  thus numerosity is established.


        39
         Because the Court has concluded, for the reasons explained
  below, that a consumer class may not be certified, the Court’s
  analysis of the Rule 23 criteria focuses on the alternative TPP
  class.
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              2.    Commonality

        Rule 23(a)(2) requires “questions of law or fact common to

  the class.”      The Supreme Court has stated that a common question

  is defined as “capable of classwide resolution – which means that

  determination of its truth or falsity will resolve an issue that

  is central to the validity of each one of the claims in one stroke.”

  Dukes, 564 U.S. at 350.      “‘[E]ven a single [common] question’ will

  do[.]”     Id.   at   359   (quoting   id.   at    376   n.9   (Ginsburg,   J.,

  concurring in part, dissenting in part); Richard Nagareda, The

  Preexistence Principle and the Structure of the Class Action, 103

  Colum. L. Rev. 149, 176, n.110 (2003)).           The EPPs easily establish

  that the anticompetitive conduct they allege involves numerous

  common questions of law and fact, and Rule 23(a)(2) is readily

  satisfied.

              3.    Typicality

        In order to certify a class, Rule 23(a)(3) requires that the

  “claims or defenses of the representative parties are typical of

  the claims or defenses of the class.”             Fed. R. Civ. P. 23(a)(3).

  Defendants challenge the named plaintiffs’ typicality, principally

  arguing that the laws under which the named plaintiffs’ claims are

  brought are not substantially similar to those of the class members

  they seek to represent nationwide.           Defs.’ Sur-Reply 4-10. 40       In


        40
         Because the Court does not certify a consumer class, it
  need not address the typicality arguments concerning the named-
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  light   of    the     Court’s       standing     analysis    and    that    addressing

  Defendants’ Renewed Motion to Dismiss, the Court is confident that

  the named plaintiffs are typical of those in jurisdictions in which

  this class may be certified, and thus the typicality requirement

  is satisfied.

                4.      Adequacy of Representation

        Defendants next argue that the EPPs have not established

  adequacy      under       Rule   23(a)(4).        First,     they    say    the     class

  representatives are inadequate because the EPPs move to certify a

  class   that       does    not   include    PBMs    but     seek    damages   for     any

  overcharges paid by such PBMs.                 Defs.’ Sur-Reply 10.         Defendants

  argue that, because PBMs bear some price risk, there is “no

  principled basis for excluding” them from a putative class of end-

  payor plaintiffs.           Id. at 11.      Second, Defendants argue that the

  EPPs have a conflict because they have proposed a subclass of EPPs,

  viz.,   the    TPPs.        Defs.’     Sur-Reply    13.       Neither      argument    is

  persuasive.

        As addressed below, the EPPs have met their burden of proving

  by a preponderance of the evidence that the PBMs did not absorb

  any injury in connection with Defendants’ alleged anticompetitive

  conduct    such     to     render    the   TPPs    uninjured.        See    infra   Part

  II.C.6.b.      Moreover, the EPPs are free to structure their proposed




  consumer plaintiffs.
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  class as they see fit.        See EPPs’ Sur-Sur-Reply in Supp. of Mot.

  for Class Certification (“EPPs’ Sur-Sur-Reply”) 10-11, ECF No.

  750; In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583,

  590-91 (N.D. Cal. 2010) (“TFT-LCD III”), amended in part, No. M

  07-1827 SI, 2011 WL 3268649 (N.D. Cal. July 28, 2011) (denying

  defendant’s motion to strike the proposed modifications to class

  definition where plaintiffs changed their class definition during

  the motion for class certification briefing).             Defendants cite no

  case or rule suggesting that the EPPs are required to include a

  set of putative plaintiffs who arguably could fit within some

  broader class.     Cf. Nexium II, 297 F.R.D. at 179 (finding that

  PBMs are “‘mere conduits’ for TPP payments to pharmacies, and as

  financial intermediaries, are not a part of the putative class”).

        In addition, the Court discerns no conflict in proposing an

  alternative    class.     The   EPPs     asked   the   Court   to    certify   an

  alternative TPP-only class if, and only if, they failed to convince

  the Court to certify the broader class.           This is not inconsistent

  with the consumers’ interests.           Indeed, it is conceivable that,

  given the state of the law post-Asacol, proposed class counsel

  have a duty to its class members to propose an alternative class.

        Defendants    further     argue    that    consumers     and    TPPs     are

  attempting to recover the same overcharge.             Defs.’ Sur-Reply 11-

  12 (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 610, 625-

  28 (1997)).    But the TPPs seek recovery of their reimbursements,

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  not the consumers’ co-pays.               And, here, only the TPP class has

  been   certified.         The     Court    is   satisfied       that   the    adequacy

  requirement is satisfied.

               5.     The TPP Class is Ascertainable

         In   order   to    carry    their    burden   on     a    motion      for    class

  certification,       a     putative       class   must      demonstrate            “by   a

  preponderance of the evidence, that the class is currently and

  readily ascertainable based on objective criteria.”                       Nexium III,

  777 F.3d at 19 (quoting Carrera v. Bayer Corp., 727 F.3d 300, 306

  (3d Cir. 2013)) (quotation marks omitted).                      The putative class

  must demonstrate a methodology for distinguishing the injured from

  the uninjured purchasers that is both “administratively feasible”

  and “protective of defendants’ Seventh Amendment and due process

  rights.”     Asacol, 907 F.3d at 52.

         Defendants assert that the EPP class is not ascertainable.

  As addressed infra in Part II.C.6.a.i, the Court agrees that there

  is no administratively feasible way to identify the consumers in

  the EPP class given that some of those consumers are indisputably

  brand loyalists.         The Court does, however, conclude that the TPPs

  can be identified and is satisfied that the EPPs have demonstrated

  by a preponderance of the evidence that each TPP has been injured.

  The Court addresses Defendants’ arguments in seriatim.




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                    a.     Availability of Data Covering the Entire Class
                           Period to Identify Class Members

        Defendants argue that the TPP class is not ascertainable

  because the EPPs have not provided a reliable methodology for

  identifying all TPPs and for excluding those that fall within the

  class exclusions.       Defs.’ Sur-Reply 16-24.        Defendants primarily

  dispute the EPPs’ ability to obtain and compile the data necessary

  to complete this task for the entire class period.                Id.

        To compile a list of all TPPs, the EPPs propose surveying

  PBMs, state insurance commissioners, and IRS Form 5500s.                  Craft

  Sur-Rebuttal Report ¶¶ 74-77; see also Craft Decl. ¶ 10 (stating

  that such a list would also be available from MMIT formulary data,

  IQVIA Prescription-by-Plan data, and Defendants).                 In addition,

  they propose using the National Council for Prescription Drug

  Programs’    Telecommunications       Standards    (“NCPDP   Standards”)     to

  identify the TPPs that purchased Loestrin 24, Minastrin, and their

  generic equivalents.          Craft Sur-Rebuttal Report ¶ 18.             HIPAA

  requires    the   use    of   NCPDP    Telecommunications     Standards     for

  adjudicating and tracking pharmacy prescriptions.                 Id. ¶ 20; see

  also Kosty Dep. 58:18-24, 59:22-25, 60:8-12.                As a result, the

  NCPDP   Standards      were   used   for    substantially   all    prescription

  transactions in the United States during the class period.                Craft

  Sur-Rebuttal Report ¶ 18.

        The Court is also convinced that the data are available and


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  accessible.       Prescription drug transactions are well documented

  and TPPs have the capability to retrieve information about the

  drugs they have purchased, the date on which they were purchased,

  and the price paid for the drugs.          Id. ¶¶ 16, 19.   These records

  are maintained by some combination of the TPPs, the PBMs, and

  pharmacies.    Id.   Most TPPs retain PBMs to administer prescription

  drug benefits to their members and members’ beneficiaries, and

  PBMs    process    claims   related   to   pharmaceutical   purchases    at

  pharmacies (i.e., at the point of sale).          Id. ¶¶ 22, 33; see also

  id. ¶¶ 23-29 (detailing how PBMs and TPPs engage with one another

  and how the PBMs’ data management system works).

         Thus, from PBM and pharmacy data, the EPPs could compile a

  list of TPPs that purchased Loestrin 24, Minastrin, and their

  generic equivalents, that includes payment amounts, coverage, and

  plan characteristics.       See Craft Sur-Rebuttal Report ¶¶ 16-19. 41

  Approximately      96-99%   of   prescription    transactions   could    be

  compiled from PBM and pharmacy data.            Id. ¶ 40.   The data from

  various sources would be merged, and the EPPs would identify and


         41
          The EPPs state that, as a practical matter, pharmacy data
  is only needed to obtain information on purchases by cash-payment
  consumers.   EPPs’ Sur-Sur-Reply 15-16.    The Court understands,
  however, that some TPPs may not use PBMs and, thus, their
  transactions may not be included in PBM data.       It is because
  pharmacy data is available that the Court is not troubled by the
  possibility that up to twenty percent of prescriptions are handled
  by large insurance companies rather than PBMs. See Defs.’ Mot. to
  Exclude Miller, Craft, Winkelman 26.


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  eliminate data errors, standardize the data, eliminate duplicates,

  and compile the list.      Craft Decl. ¶ 15.

         Defendants aver that the NCPDP Standards are transmission,

  not data storage or maintenance, standards and thus, PBMs may store

  their data using different data fields.            Defs.’ Motion to Exclude

  Miller, Craft, Winkelman 22-23.        But the EPPs offer evidence that

  PBMs    and   pharmacies   maintain    data   in    this   format   as   well.

  Winkelman Report ¶ 30.      And as far as the claim that the data are

  not stored in a standardized format, EPPs’ expert, Craft, explains

  in detail how OnPoint would cull through the data fields used by

  various PBMs to standardize them. 42       See, e.g., Craft Decl. ¶ 7.

         Winkelman states that, while PBMs and pharmacies are only

  required to maintain data for seven years, based on his experience

  in the industry, he understands “that such records are archived

  and accessible indefinitely”.         Winkelman Report ¶ 41.         He uses

  Walgreens as an example – its website states that it does not




         42
         The Court is aware that at least one court has noted that
  “the players in the pharmaceutical industry [do not utilize] all
  of the fields set out in NCPFP standards”. In re Wellbutrin XL
  Antitrust Litig., 308 F.R.D. 134, 150 (E.D. Pa. 2015) (“Wellbutrin
  XL II”).   While the court in Wellbutrin declined to certify an
  indirect-purchaser class on the record before it, the court
  explicitly held that its conclusion was limited to the record
  evidence presented and that it did “not hold a view regarding
  whether indirect purchaser classes in other cases involving
  pharmaceutical purchases are ascertainable or not.” Id. at 151.
  Given the EPPs’ expert testimony in this case, the Court is
  confident that the EPPs can execute their plan in an
  administratively feasible manner.
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  delete     prescriptions      from   a        patient’s    history     and    older

  prescription history may be transferred to microfilm and obtained

  upon request.    Id.

        The Court is further satisfied that the economic incentives

  for PBMs, pharmacies, and other relevant actors are aligned with

  retaining this data in some form for as long as possible.                     Craft

  Sur-Rebuttal    Report    ¶   22   n.35.        Data   retention     allows   these

  entities to prove that they have satisfied their contractual

  obligations and complied with regulatory requirements.                   Id.; see

  also Winkelman Report ¶ 41 (detailing PBMs’ retention practices).

  Defendants’ expert, Dr. Bruce Strombom, concedes that he is not

  aware of any instance in which a PBM affirmatively deleted data.

  EPP Hr’g Tr. vol. II, 121:21-122:1.              While some of the older data

  may be archived, the EPPs represent that they have the capability

  to programmatically read and analyze archived data.                    Craft Sur-

  Rebuttal Report ¶ 22 n.35.

                   b.      Availability          of   Data    to     Apply      Class
                           Exclusions 43

        The EPPs also demonstrate, by a preponderance of the evidence,

  that they will be able to successfully gather and compile the data




        43
         Because the Court declines to certify a class inclusive of
  consumers, it need not address Defendants’ argument that the EPPs
  will not be able to identify flat co-pay consumers.     See EPPs’
  Sur-Sur-Reply 17.
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  necessary to apply class exclusions.

        With respect to state and federal governmental entities, the

  EPPs will request that the PBMs remove federal and state plans

  from their dataset and, in addition, OnPoint will be able to

  identify them by name.      Craft Decl. ¶ 18.    Federal employee health

  benefit plans are fully insured plans that contract with carriers

  to provide health insurance.         French Reply Report ¶ 28.          The

  carrier offering the plan – not the federal government – is the

  TPP for any class transactions.       Id.   For state plans, Dr. French

  conservatively assumes that all state employee plans are self-

  insured.    Id. ¶ 29.

        For   fully-insured   health   plans,   Craft   explains   that   the

  Internal Revenue Service requires most employer-sponsored health

  plans to file annually an IRS Form 5500, which discloses whether

  a plan is fully insured, self-insured, or mixed insured.             Craft

  Decl. ¶ 20.    Defendants retort that many small health plans (those

  with fewer than 100 members) do not file an IRS Form 5500.              See

  Expert Report of Bruce A. Strombom ¶¶ 45-46, ECF No. 697-3.          While

  this may be true, the Court is confident that PBM data will fill

  any holes left from missing IRS Form 5500 data. Craft Sur-Rebuttal

  Report ¶ 78.      In any event, plans with fewer than one-hundred

  members are likely to be fully insured and thus excluded from the

  putative class.       Id. ¶ 79 (citing U.S. Dep’t of Labor, Emp.

  Benefits Sec. Admin., Group Health Plans Report: Abstract of 2012

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  Form 5500 Annual Reports 24 (June 2015); U.S. Dep’t of Labor, Emp.

  Benefits Sec. Admin., Group Health Plans Report: Abstract of 2015

  Form 5500 Annual Reports 22 (Oct. 2017)). 44

        In order to identify PBMs (which are expressly excluded from

  the class), the EPPs would employ lists maintained by the Pharmacy

  Benefit Management Institute and RxResource.org.              Craft Decl.

  ¶ 21.      The six largest PBMs collectively control about 92% of the

  PBM marketplace, and these other data sources would enable the

  EPPs to readily identify the forty or so other small PBMs.           Id.

                     c.   Generic Purchases from Non-Defendants

        Defendants argue that the EPPs improperly include purchasers

  that bought generic Loestrin 24 from third-party (non-Defendant)

  manufacturers.      Defs.’ Renewed Mot. to Dismiss 17-19.          For the

  reasons set forth in this Court’s Opinion and Order on the DPPs’

  Motion for Class Certification, the EPPs’ purchases of generic

  Loestrin 24 from third-party manufacturers is not a barrier to

  class certification.      See In re Loestrin 24 Fe Antitrust Litig.,

  No. 1:13-MD-2472, 2019 WL 3214257, at *8-10 (D.R.I. July 2, 2019)

  (“Loestrin II”).

                     d.   So-Called Brand Loyalists


        44Craft further testified that, if the EPPs were unable to
  determine whether a TPP is self-insured to some extent, they could
  call the TPP. EPP Hr’g Tr. Vol. II, 37-38. If affirmation could
  not be provided over the telephone, the EPPs would exclude that
  TPP in order to ensure that no fully-insured TPP was included in
  the class. Id.
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        Defendants contend that any TPP that did not purchase generic

  Loestrin 24 in the actual world must be excluded from the class as

  an uninjured brand loyalist.            Defs.’ Sur-Reply 38-39.     The Court

  disagrees.     This definition of “brand loyalist” is overly narrow,

  even with Asacol in mind, vis-à-vis the TPPs.

        While Asacol held that plaintiffs seeking to certify a class

  must have an “administratively feasible” plan for identifying and

  excluding uninjured purchasers, it also defined “brand loyalist”

  as a purchaser that “would have continued to purchase a brand drug”

  after generic entry.            907 F.3d at 51, 52.      Under Asacol, those

  TPPs that did not purchase generic Loestrin 24 in the actual world

  –   ostensibly      due   to     the   delay   and   suppression   of   generic

  competition caused by Defendants’ alleged anticompetitive conduct

  – but would have in a but-for world are not brand loyalists.

        The    EPPs    have      demonstrated    through   Dr.   French’s   sound

  analysis, by a preponderance of the evidence, that the TPPs that

  did not purchase generic Loestrin 24 and/or Minastrin in the actual

  world were indeed injured because they would have made at least a

  single purchase of an AB-rated generic equivalent in the but-for

  world.      See Solodyn II, 2017 WL 4621777, at *18 (“an insurer with

  brand-loyal members is only uninjured here if every one of its

  members would have been brand-loyal for all [drug] purchases in

  each ‘but-for’ scenario . . . It is highly unlikely, therefore,

  that institutional payors were uninjured even if some of their

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  members are brand-loyal or purchased the generic during the period

  in question.”).

              6.    Common Questions of Law or Fact Predominate

        To certify a class, under Rule 23(b)(3), “questions of law or

  fact common to class members [must] predominate over any questions

  affecting only individual members.”       Fed. R. Civ. P. 23(b)(3).      In

  conducting the predominance inquiry, the Court must determine

  “whether any dissimilarity among the claims of class members can

  be dealt with in a manner that is not ‘inefficient or unfair.’”

  Asacol, 907 F.3d at 51 (citing Amgen, Inc. v. Conn. Ret. Plans &

  Tr. Funds, 568 U.S. 455, 469 (2013)).       A court may certify a class

  if it determines a plan to adjudicate individual issues that is

  both “administratively feasible” and “protective of defendants’

  Seventh Amendment and due process rights.”           Id. at 52 (quoting

  Nexium III, 777 F. 3d at 19).

        This poses a considerable hurdle after the First Circuit’s

  Opinion in Asacol; one that the EPP Class cannot clear with respect

  to its consumer class.

                    a.   Injury

        The EPPs allege that each of its class members (consumers and

  TPPs) were injured when they purchased, paid for, or provided

  reimbursement for Loestrin 24 or Minastrin, or their generic

  equivalents.     See EPPs’ Mot. for Class Certification 23.           In a

  but-for world, they would have instead paid for a less expensive

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  generic Loestrin 24.           Id.    This proof of injury, or “injury-in-

  fact”, is an element of an antitrust class action plaintiff’s case.

  Asacol, 907 F.3d at 51 (citing New Motor II, 522 F.3d at 19 n.18).

                            i.     Injury: Consumers

        It is undisputed that the proposed EPP Class contains some

  consumers who were brand loyalists – i.e., that some consumers

  would have continued purchasing brand Loestrin 24 in a but-for

  world in which Defendants’ alleged anticompetitive conduct never

  occurred and generic Loestrin 24 entered the market earlier. EPPs’

  Sur-Sur-Reply 23-24.            It is further undisputed that economic

  modeling may allow for the approximation of the percentage of these

  so-called “brand loyalists” in the class as a whole, but it does

  not allow the Court and parties to identify precisely who among

  the EPP Class would have been brand loyalists without – simply put

  – asking them.        See id. at 24.       Even at the most conservative end,

  the     EPPs’   own    expert,       Dr.   French,   calculates   this   to   be

  approximately 6.7% of the proposed consumer class.                French Reply

  Report ¶ 40. In a class that conservatively would include hundreds

  of thousands of consumers, that is a heavy lift.              See Craft Decl.

  ¶ 27.

        As noted above, the First Circuit, in the midst of briefing

  on the instant Motion for Class Certification, issued its decision

  in Asacol, 907 F.3d 42.               In that opinion, the court squarely

  addressed “the proper treatment of uninjured class members at the

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  class certification stage” in a pharmaceutical antitrust case not

  unlike the instant one.         Id. at 51.       It reaffirmed that, “a class

  may be certified notwithstanding the need to adjudicate individual

  issues   so    long     as   the    proposed     adjudication   will    be   both

  ‘administratively feasible’ and ‘protective of defendants’ Seventh

  Amendment and due process rights.’”               Id. at 52 (quoting Nexium

  III, 777 F.3d at 19).        While Nexium held that consumer testimony,

  “if unrebutted”, could serve to set apart the uninjured from the

  injured, Nexium III, 777 F.3d at 20-21 (emphasis added), Asacol

  makes clear that a case in chief of this sort that proffers

  rebutted evidence fails to properly heed the dictate that it be

  “administratively feasible” and “protective of defendants’ Seventh

  Amendment and due process rights.”             Asacol, 907 F.3d at 52-53; see

  also   id.    at   53   (emphasizing      that   inadmissible   hearsay,     like

  affidavits of individual consumers, may not be used at or after

  trial to prove injury in fact).

         Here, Defendants state that they would rebut any affidavits

  proffered in connection with the consumers’ case.               Defs.’ Renewed

  Mot. to Dismiss 14-15.         And, thus, even if the EPPs could convince

  the Court that it could compile the data discussed above and

  identify     all   consumers       who   purchased   Loestrin   24,    Minastrin,

  and/or their generic equivalents during the Class period, the

  problem of how to identify the brand loyalists amongst them – those

  price insensitive consumers – would remain.

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        To this point, the EPPs concede that the only way this Court

  can remain faithful to Asacol and certify an EPP Class inclusive

  of consumers is to hold that there is a presumption of injury

  and/or causation. 45

        The EPPs accordingly ask the Court to hold that the putative

  consumer class is entitled to presumptions of injury and causation.

  EPP Hr’g Tr. vol. I, 22:20-23:19.           With respect to a presumption

  of   injury,   the   EPPs   argue   that,   because   Defendants’   alleged

  wrongful conduct (the reverse payment followed by the product hop)

  caused the absence of proof of injury as to each putative class

  member, such a presumption applies.          EPPs’ Sur-Sur-Reply 2-3.    In

  other words, as applied here, the EPPs ask for a presumption that

  every single consumer would have purchased a less expensive generic

  equivalent in the but-for world.            This, of course, presumes no

  brand loyalty.

        But the EPPs’ request falls flat because Asacol, read as a

  whole, plainly does not contemplate such a presumption.             What is

  more, the court admonished that the plaintiffs’ claims process to




        45
         See, e.g., EPP Hr’g Tr. vol. I, 28:20-22 (“I acknowledge
  this question of who has the burden is essential to our getting
  the class certified as to the consumers.”); id. at 29:13-16
  (“[B]ecause the reality is if you were to decide there’s not a
  presumption and, therefore, we acknowledge, therefore, there
  cannot be a consumer part of this class.”); EPP Hr’g Tr. vol II,
  5:21-25; EPP Sur-Sur-Reply 3 (“Defendants’ conduct made the common
  proof regarding brand-loyal Loestrin 24 consumers unavailable
  . . . .”).
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  sort uninjured from injured purchasers provided the defendants

  with “no meaningful opportunity to contest” whether the purchasers

  were in fact injured.      Asacol, 907 F.3d at 53.        This process was

  at odds with the court’s central concern that the defendants have

  the right to “challenge . . . a plaintiff’s ability to prove an

  element of liability.” Id. Most tellingly, the court stated that,

  although the Supreme Court, in Halliburton Co. v. Erica P. John

  Fund, Inc., 573 U.S. 258 (2014), “permitted class certification

  based on a proper presumption furnished by the applicable law,

  even   if   the   presumption   might    be   rebutted   as   to   individual

  plaintiffs in a few instances, here we have no such presumption.”

  Id. (emphasis added) (citation omitted).          This (direct) language,

  along with various other statements throughout the opinion, leave

  this Court no room to rewrite what the First Circuit has clearly

  scripted.    See, e.g., id. at 54 (stating, in distinguishing Asacol

  from Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036 (2016),

  “plaintiffs point to no such substantive law that would make an

  opinion that ninety percent of class members were injured both

  admissible and sufficient to prove that any given individual class

  member was injured”).

         Were the Court writing on a clean, pre-Asacol slate, it may

  very well adopt a presumption of injury.           The Court is troubled

  that over ninety percent of consumers in the proposed EPP class

  may have been injured by Defendants’ alleged unlawful conduct, but

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  now have no practical recourse under antitrust law.               See In re

  Intuniv Antitrust Litig., No. 1:16-CV-12396-ADB, 2019 WL 3947262,

  at *7 n.8 (D. Mass. Aug. 21, 2019) (expressing similar concerns

  and noting that while Asacol “eliminates the possibility that some

  consumers might obtain a recovery for damages they did not suffer,

  it also ensures that a much larger number of . . . consumers will

  receive no remedy for harm actually suffered”).           Perhaps the Court

  of Appeals will have occasion in this case or another to reconsider

  this holding; or, if not, perhaps Congress will take up the issue.

         But for now, the EPPs’ argument is not supported by the law

  of this Circuit.         The Court concludes that, with respect to

  consumer injury-in-fact, individual issues predominate over common

  ones, and there is no administratively feasible way to adjudicate

  these individual issues while paying due reverence to Defendants’

  Seventh Amendment and due process rights.

                          ii.   Injury: TPPs

         For a TPP to prove injury, it must demonstrate only that it

  incurred an overcharge on a single transaction during the class

  period.   See Nexium III, 777 F.3d at 32 (citing Baker v. Carr, 369

  U.S. 186, 204–06 (1962)).

         Defendants contend that there are uninjured TPPs in the EPPs’

  proposed class.       Defs.’ Sur-Reply 35, 40-41.        More specifically,

  they   argue   that   there   are   brand-loyal   TPPs    that   would   have

  continued buying the more expensive, branded product in the but-

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  for world; the price of brand Loestrin 24 was on average lower

  than the but-for price of generic Loestrin 24; and PBMs absorb

  part of any overcharges incurred, thus undermining TPP injury.

  Id. at 35, 40-41, 50, 52.           The Court finds none of these arguments

  persuasive.

        Whether There Are So-Called “Brand-Loyal” TPPs. 46            Defendants

  argue that some subset of TPPs are so-called “brand loyal.” Defs.’

  Sur-Reply 35, 40-41.          That is, even in a but-for world, some TPPs

  would      have   continued    to    purchase   all   brand   Loestrin   24   or

  Minastrin.        Id.   Defendants’ argument misses the mark.       Dr. French

  has provided the Court with a compelling analysis suggesting that,

  in a but-for world, each TPP would have reimbursed at least a

  single purchase of generic Loestrin 24 during the class period at

  a price lower than its branded alternative.                   See French Reply

  ¶ 114; see also EPP Hr’g Tr. vol I, 86:1-24.              To argue otherwise

  is to suggest that it is likely that each of a TPP’s relevant plan

  members (i.e., those who purchased Loestrin 24 or Minastrin during




        46Defendants manufacture tension in highlighting that the
  EPPs’ pre-Asacol class excluded “[a]ny ‘brand loyalist’ consumers
  or third-party payors who purchased Loestrin 24 Fe and who did not
  purchase any AB-rated generic equivalent after such generics
  became available.”   EPPs’ Mot. for Class Certification 13; see
  also Defs.’ Sur-Reply 35 n.31. But this can hardly be seen as an
  admission that its proposed TPP class includes brand loyalists.
  That a TPP did not purchase generic Loestrin 24 once it became
  available is of no moment when we have evidence that, with
  sustained and robust generic competition, each TPP likely would
  have made at least one such purchase.
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  the class period) were brand loyal.            See In re Celexa & Lexapro

  Mktg. & Sales Practices Litig., 915 F.3d 1, 13 (1st Cir. 2019)

  (noting that the odds were “infinitesimal” that a TPP was unharmed

  by off-label promotion that caused over half of the pediatric

  prescriptions for the drug at issue); Solodyn II, 2017 WL 4621777,

  at *18 (“It is highly unlikely, therefore, that institutional

  payors were uninjured even if some of their members are brand-

  loyal . . .”).     This is so even if some TPPs have not reimbursed

  for generic Loestrin 24 in the actual world.

        Whether PBMs Absorb Part of TPPs’ Injury.           Defendants argue

  that PBMs bear some of the risk of drug prices and thus would have

  absorbed part of the TPPs’ injury, rendering some TPPs uninjured.

  Defs.’ Sur-Reply 10-11, 52-55.             The EPPs proffer evidence that

  PBMs are highly profitable businesses that do not “share in the

  ‘risk’ of paying” for Loestrin 24, Minastrin, and/or their generic

  equivalents.    Winkelman Report ¶¶ 46, 56.         A PBM’s role is not as

  “the ultimate payor of prescription benefits, but rather it acts

  as an intermediary to facilitate payment for prescription drugs.”

  Id. ¶ 46.      TPPs pay PBMs to provide administrative services,

  including claims processing, retail pharmacy network management

  services,     formulary    management        and   compliance,   and   drug

  utilization review.       Id. ¶ 47.    To ensure that they do not cost

  share with TPPs, PBMs employ several strategies, including holding

  advance payment from TPPs for prescription drugs in a reserve or

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  adopting   contractual    terms   that   render   late   payment      by   TPPs

  financially unattractive.         Id. ¶ 49.       Moreover, PBMs do not

  consider manufacturer rebates “a mechanism by which they pay for

  [TPPs’] purchases of prescription drugs”, but rather, they view

  them as a “source of revenue.” Id. ¶ 53; see also id. ¶ 56 (opining

  that PBMs “are not paying for the pharmaceutical products”).

  Instead, rebate guarantees represent profit sharing.            Id.

        Therefore, the Court is not persuaded that practices like

  spread pricing and rebate guarantees pay for specific drugs or

  reflect PBMs absorbing risk for specific drugs.             See Winkelman

  Report ¶¶ 45-56 (opining that PBMs are not subsidizing insurers’

  drug purchases and are, instead, making a profit on the cost of

  the   prescriptions    they   administer);    Chesler    Dep.    91:14-92:8

  (stating that rebates from PBMs to insurers are passed along months

  after the purchases and, to the extent they are passed through,

  are done in a single lump sum covering many drugs and many drug

  purchases).

        Whether Some TPPs Paid Less for Brand Loestrin 24 Than Generic

  Loestrin 24 in the But-For World. Defendants argue that individual

  issues predominate because some TPPs paid less for brand Loestrin

  24 and Minastrin than they would have paid for their generic

  equivalents in a but-for world.       Defs.’ Sur-Reply 48-51; see also

  Hughes Sur-Reply Report ¶¶ 140-42 & Ex. 13.        This, in part, is due



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  to the way insurers influence patient choice by placing drugs on

  different tiers within their formularies.         Defs.’ Sur-Reply 49.

        To reach this conclusion, Dr. Hughes calculates the average

  cost for a TPP by subtracting the average copayment from the

  average pharmacy price for each year between 2009 and 2013. Hughes

  Sur-Reply Report Ex. 13.     According to Dr. French, this results in

  an overstatement of the generic price and an understatement of the

  brand price.     Id. ¶ 41.     Dr. French opines that Dr. Hughes has

  understated the brand price by improperly netting the value of

  coupons and rebates, in addition to choosing formulary positions

  for brand Loestrin 24 and Minastrin that do not reflect that of

  brand drugs without generic counterparts on the market.           See Sur-

  Reply Report of Gary L. French, Ph.D. Regarding Impact and Damages

  to EPPs (“French Sur-Reply Report”) ¶ 83-84, ECF No. 751-1; Hughes

  Sur-Reply Report Ex. 13 n.4 (noting that his pharmacy price is

  “adjusted for rebates and coupons”).        Dr. French favors, instead,

  using the actual average consumer copays, as well as accounting

  for   deductibles   and   coinsurance,   for   TPP   class   transactions.

  Supplemental Declaration of Gary L. French, Ph.D. ¶ 3 (“French

  Supp. Decl.”), ECF No. 786-2.

        In response to Defendants’ attack, Dr. French examined Optum

  Health datasets of 38 to 67 plans with brand purchases of Loestrin




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  24 or Minastrin in the years 2009 through 2017. 47             Id. ¶¶ 12-16 &

  Exs. 1-3.        From those, he concludes that for all but one, the plan

  had at least one transaction for which it paid more for brand

  Loestrin 24 or Minastrin than the but-for plan payment for generic

  Loestrin 24 in the corresponding year.           Id.; Ex. 3 to French Supp.

  Decl.      Because the Optum Health data is broken down by plan, and

  TPPs regularly have more than one plan, the fact that a single

  plan was not injured does not demonstrate that the TPP to which it

  belonged was not injured.          Id. ¶ 15 n.18

        Having held that Dr. French’s methodology and analysis are

  sound      and   reliable,   the   Court   concludes   that   Dr.   French   has

  demonstrated by a preponderance of the evidence that each TPP

  sustained injury from Defendants’ alleged anticompetitive conduct.

  Accordingly, the EPPs have demonstrated by a preponderance of the

  evidence that “questions of law [and] fact common to class members

  predominate over any questions affecting only individual members”

  of the TPP class with respect to injury and damages. 48                And for

  this reason, and the reasons stated above, the Court has GRANTED




        47Defendants take issue with what they call Dr. French’s
  “individualized” approach.    See Defendants’ PowerPoint Slide:
  Issues with IPP Class Certification and Trial Timing 4 (Sept. 11,
  2019), ECF No. 1230-6. But it is only in response to Defendants’
  criticism that Dr. French undertook this analysis:     Defendants
  mount a challenge to Dr. French’s analysis by plucking out
  uninjured TPPs; the EPPs demonstrate why this is wrong.

        48   With respect to damages, see supra Part II.B.2.e.
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  the EPPs’ Motion for Class Certification with respect to the

  alternative TPP class and DENIED it with respect to the broader

  EPP class including consumers.

                    b.   Damages

        Defendants take issue with the EPPs’ proposed damages model

  and aver that individual issues predominate over those affecting

  the class.     Defs.’ Sur-Reply 55-56.      Most of their arguments are

  addressed above, and the Court need not regurgitate its conclusions

  here other than to note that it has found Dr. French’s methodology

  and   analysis   reliable.       Counsel   for   Defendants   may   explore

  perceived weaknesses in the source and date range of Dr. French’s

  data sets on cross examination, but they have not convinced the

  Court that Dr. French’s damages model is unsound and should be

  thrown out.

        For these reasons, the Court has concluded by a preponderance

  of the evidence that “questions of law or fact common to class

  members predominate over any questions affecting only individual

  members”.     Fed. R. Civ. P. 23(b)(3).      Moreover, it is plain that

  “a class action is superior to other available methods for fairly

  and efficiently adjudicating the controversy.”         Id.

  III. Conclusion

        For the reasons set forth above, the Court GRANTS IN PART and

  DENIES IN PART Defendants’ Renewed Motion to Dismiss and Motion

  for Judgment on the Pleadings as to Claims in EPPs’ Second Amended

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   Consolidated Class Action Complaint, ECF No. 576, dismissing the

   EPPs’ antitrust claims brought under the laws of Arizona, Hawaii,

   Illinois, Nevada, Puerto Rico, and Utah. The EPPs’ antitrust claim

   under Rhode Island law may proceed with respect to damages incurred

   after July 15, 2013, and the EPPs’ monopolization claims under

   Kansas, New York, and Tennessee law may proceed insofar as the

   EPPs allege a reverse payment with Watson.             The Court dismisses

   the EPPs’ consumer protection claims under the laws of Illinois,

   Massachusetts, Rhode Island, Tennessee, and West Virginia.             The

   Court dismisses the EPPs’ unjust enrichment claims under the laws

   of   Alabama,    Alaska,   Colorado,    Connecticut,   Delaware,   Florida,

   Georgia, Idaho, Illinois, Kentucky, Louisiana, Maine, Maryland,

   Massachusetts, Missouri, Montana, New Jersey, New York, North

   Dakota, Oklahoma, Pennsylvania, South Carolina, Texas, Utah, and

   Virginia. 49    The Court also dismisses A.F. of L. - A.G.C. Building

   Trades Welfare Plan as a named plaintiff in this suit.

         The EPPs’ Motion for Class Certification, ECF No. 526, was

   GRANTED IN PART AND DENIED IN PART in the Court’s Order dated

   September 17, 2019, see ECF No. 1226, and amended by the Court’s

   Order dated September 26, 2019, see ECF No. 1239; Defendants’

   Motion to Exclude the Opinion and Testimony of EPPs’ Expert Gary




         49To the extent any claims were pled in the EPPs’ Complaint,
   see ECF No. 165, but are not pressed in the EPPs’ State Law Claims
   Chart, see ECF No. 1231, they are also dismissed.
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   L. French, Ph.D., ECF No. 575, is DENIED; EPPs’ Motion to Exclude

   the Opinions and Testimony of James W. Hughes, Ph.D., ECF No. 634,

   is GRANTED IN PART AND DENIED IN PART; Defendants’ Motion to

   Exclude the Opinions and Testimony of EPPs’ Experts Eric Miller,

   Laura Craft, and Myron Winkelman, ECF No. 698, is GRANTED IN PART

   AND DENIED IN PART; and the EPPs’ Motion to Exclude the Opinions

   and Testimony of Timothy Kosty and Bruce Strombom, Ph.D., ECF No.

   733, is DENIED.

   IT IS SO ORDERED.




   William E. Smith
   Chief Judge
   Date: October 17, 2019




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